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Case 2:13-cv-02949- «CDV oGtoOWERR SHEHIB/29/13 Page 1 of 97

The 75 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (S#2 INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS
Elizabeth Snider, individually and as Executrix of the Estate of Daniet A. | Sterling Airways, Inc., et al. (See Attached List}

Snider, et al.

JS 44 (Rev. 12/12)

 

(b) County of Residence of First Listed Plaintiff Monongalia (West Virginia)
(EXCEPT IN U.S. PLAINTIFF CASES

County of Residence of First Listed Defendant _Allegany (New York)

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

Attorneys (if Krewn)
Patrick Hughes, Esquire, Connell Foley LLP, 85 Livingston Avenue,
Roseland, NJ 07068, (973) 535-9217 (See Attached List}

(c) Attorneys (Finn Name, Address, and Telephone Number)
John R. Merinar, Jr., Esquire, Steptoe & Johnson PLLC, 400 White Oaks
Blvd., Bridgeport, WV 26330, (304) 933-8135

 

 

Il. BASIS OF JURISDICTION (Ptace an “x in One Box Only) fil, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x" in One Box for Plainti;
{For Diversity Cases Only) and One Box for Defendant)
O1 US. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Nat a Party) Citizen of This State GO 1 © ! Incorporated or Principal Place a4 o04
of Business In This State
2 U.S. Government 4 Diversity Citizen of Another State GO 2 © 2 Incorporated and Principal Place os O8
Defendant (indicate Citizenship of Parties in Heim i] of Business In Another State
Citizen or Subject of a O3 OO 3 Foreizn Nation o46 06
Foreign Country

 

 

  

ERA

 

   

IV. NATURE OF SUIT (Piace an "X" in One

  

    

Box

PERSONAL INJURY

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O 422 Appeal 28 USC 158

    

 
   

 

 

   

CF 110 Insurance PERSONAL INJURY a
J 120 Marine Bf 316 Airplane CJ 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal O 400 State Reapportionment
01 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC E57 O 410 Antitrust
140 Negotiable Instrument Liability O 367 Health Care/ 0) 430 Banks and Banking
7 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical eo PROPERE © 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 460 Deportation
0 151 Medicare Act 1 330 Federal Employers’ Pradust Liability O 830 Patent O 470 Racketeer Influenced and
O 152 Recovery of Defaulted Liability O 368 Asbestos Personal O &40 Trademark Corrupt Organizations
Student Loans ( 340 Marine Injury Product O 486 Consumer Credit
(Excludes Veterans) OF 345 Marine Product Liability os ABO Ris eee ates (OLA She =| C1 490 Cable/Sat TY
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY [0 710 Fair Labor Standards O 861 HIA (1395ff) OF 856 Sccurities/Commodities/
of Veteran’s Benefits © 350 Motor Vehicle O 370 Other Fraud Act O 862 Black Lung (923) Exchange
O 160 Stockholders’ Suits 355 Motor Vehicle O 37t Truth in Lending O 720 Labor/Management 0 863 DIWC/DIWW (405(g})} | 0 899 Other Statutory Actions
0 190 Other Contract Product Liability D0 380 Other Personal Relations O 864 SSID Title XVI O 891 Agricultural Acts
OG 195 Contract Product Liability | 360 Other Personal Property Damage 0 740 Railway Labor Act O 865 RSI (405(g)) O 893 Environmental Matters
OC 196 Franchise Injury CF 385 Property Damage 751 Family and Medical D 895 Freedom of Infonnation
0 362 Personal Injury - Produci Liability Leave Act Act
Medical Malpractice O 790 Other Labor Litigation 896 Arbitration
Siiiaech WA (OPHIUEYE Fe Ra Esa eee EHRISONERen Ee hiGnNess| 1 791 Employes Retirement : f esas! J 899 Administrative Procedure
O 210 Land Condemnation 01 440 Other Civil Rights Habeas Corpus: Income Security Act O 870 Taxes (U.S. Plaintiff Acl/Review or Appeal of
C) 220 Foreclosure O 441 Voting CO) 463 Alien Detainee or Defendant} Agency Decision
C7 230 Rent Lease & Ejectment O 442 Employment O 510 Motions to Vacate O 871 IRS—Third Party O $50 Constilutionality of
O) 240 Torts to Land 0 443 Housings Sentence 26 USC 7609 State Statutes
O 245 Tort Product Liability Accommodations f 530 General
0 290 All Other Real Property © 445 Amer. w/Disabilities - | 535 Death Penalty meres ices a
Employment Other: & 462 Naturalization Application

 

 

 

 

 

CF 446 Amer. w/Disabilities -]0 540 Mandamus & Other [0 465 Other Immigration
Other 1 550 Civil Rights Actions
0 448 Education O 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Canfinement
V. ORIGIN (Place on “X" in One Box Only}
1 Original p€2 Removed from O 3° Remanded from 4 Reinstatedor (© 5 Transferred trom © 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation

tspecify}

Cite the U.S, Civil Statute under which you are filing (De nor cite Jurisdictional statutes untess diversity):

 

VI. CAUSE OF ACTION

Brief description of cause:
Airplane Accident

 

 

 

 

 

 

 

VI. REQUESTED INO) CHECK IF THISISA CLASSACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P, JURY DEMAND: Yes ONo
VI. RELATED CASES)
IF ANY (See instructions Gp . DOCKET NUMBER
DATE —_ wo SIGNATURE OF ATTORNEY OF RECORD
24 fz /s! Alan D. Mattioni
FOR OFFFCE USE ONFY .
RECEIPT # AMOUNT APPLYING 1IFP JUDGE MAG, JUDGE
JS 44 Reverse (Rev. 12/12) Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 2 of 97

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces ner supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

(a) Plaintiffs-Defendants, Enter names (last, first, middle initial) of plaintiff and defendant. Ifthe plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. Ifthe plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title,

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing, In U.S, plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing, (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, fist them on an attachment, noting
in this section "(see attachment)",

IL, Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings, Place an "X"
in one of the boxes, If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C, 1345 and 1348. Suits by agencies and officers of the United States are included here,
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S, is a party, the U.S, plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C, 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Ill. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

TY, Nature of Suit, Place an "X" in the appropriate box, If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive.

y. Origin. Place an "X" in one of the six boxes.
Original Proceedings, (1) Cases which originate in the United States district courts.
Removed from State Court, (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441,
When the petition for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers,
Mulltidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.:
When this box is checked, do not check (5) above,

VI. = Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VIL =Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv,P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction,
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VITE. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases,

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 2:13-cv-02949-JCJ Document1 Filed 05/29/13 Page 3 of 97

PARTIES
Plaintiffs

ELIZABETH C. SNIDER, individually and as Executrix of the Estate of DANIEL A.
SNIDER, and LEE W. SNIDER, a minor, by his mother, ELIZABETH C. SNIDER,

Defendants

STERLING AIRWAYS, INC.

CONTINENTAL MOTORS, INC.

TDY INDUSTRIES, INC.

ALLEGHENY TECHNOLOGIES INCORPORATED
TELEDYNE TECHNOLOGIES INCORPORATED

TECHNIFY MOTORS (USA), INC.,
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13

ATTORNEYS

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P. Connell McNulty, Esquire
Conrad O’Brien PC

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Attorneys for Plaintiff Elizabeth C. Snider

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Philadelphia, PA 19101
phughes@connellfoley.com

Attorneys for Sterling Airways, Inc.

Page 4 of 97
Case 2:13-cv-0294 0 FORT A TES PES TERT Seats Page 5 of 97

* FOR THE EASTERN DISTRICT OF PENNSYLVANIA --- DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff_E]izabeth Snider, 67 Days Run Road, Fairview, WV 26570
Address of Defendant;_ Sterling Airways, Inc., 1160 Airport Road, Hormel, NY 14843

Place of Accident, Incident or Transaction:__Lock Haven, Pennsylvania
(Use Reverse Side For Additional Space)

 

Does this civil action involve a nengovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
(Attach two copies of the Disclosure Statement Form in accordance with Fed,R.Civ,P, 7.1(a)) YesL] Noo

 

Does this case invelve multidistrict litigation possibilities? Yes) = =Nold
RELATED CASE, IF ANY;

Case Number: _12-cy-4439; 12-cy-3490; Judge Hon. J, curtis loyner Date Terminated; 01/22/2013: 01/14/2013: 01/14/2013

12-cv-3054

Civil cases are deemed related when yes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
YesO] Not
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yes Noo
3, Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
terminated action in this court? YessO Nol

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

 

Yes Noll

CIVIL: (Place @ 1 ONE CATEGORY ONLY)
A. Federal Question Cases: B, Diversity Jurisdiction Cases:

1, O Indemnity Contract, Marine Contract, and All Other Contracts 1. O Insurance Contract and Other Contracts
2. 0 FELA 2, O Airplane Personal Injury

3. O Jones Act-Personal Injury 3, O Assault, Defamation

4. O Antitrust 4, O Marine Personal Injury

5. O Patent 5, O Motor Vehicle Personal Injury

6. 0 Labor-Management Relations 6. O Other Personal Injury (Please specify)
7, O Civil Rights 7. O Products Liability

8. O Habeas Corpus §. O Products Liability — Asbestos

9, O Securities Act(s) Cases 9. O All other Diversity Cases

10.0 Social Security Review Cases (Please specify)

11, & All other Federal Question Cases
(Please specify) Federal ‘Tort Claims Act

 

ARBITRATION CERTIFICATION
(Check Appropriate Category)
I, , counsel of record do hereby certify:

O Pursuant to Local Civil Rule 53.2, Section 3{c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
O Relief other than monetary damages is sought.

DATE;

 

Attorney-at-Law Attorney L.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38,

 

I certify that, to my knowledge, the within case is not related to any case new pending or within one year previously terminated action in this court
except as noted above,

DATE: _05/22/2013 is/ Alan D, Mattioni PA-64259 |

Attormey-at-Law Attorney LD#
CIY. 609 (5/2012)
Case 2:13-cv-02949-JCJ Document1 Filed 05/29/13 Page 6 of 97

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Elizabeth C. Snider, individually and as Executrix , CIVIL ACTION
of the Estate of Daniel A. Snider, et al. ;
Vv.

Sterling Airways, Inc., et al. NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track

to which that defendant believes the case should be assigned.
SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus —- Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits.

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos.

(c) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.)

(f) Standard Management — Cases that do not fall into any one of the other tracks.

( )

( )
C)

C)

(x)
( )

 

 

 

05/22/2013 Alan D. Mattioni United States of America
Date Attorney-at-law Attorney for

(202) 616-4104 (202) 616-4002 Alan.Mattioni@usdoj.gov
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 7 of 97

Civil Justice Expense and Delay Reduction Plan
Section 1,93 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

(c) The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

(e) Nothing in this Plan is intended to supersede Local Civil Rules 40,1 and 72,1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (ce) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly referred to as “complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985, This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33,
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 8 of 97

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

ELIZABETH C. SNIDER, individually and
as Executrix of the Estate of DANIEL A.
SNIDER, and LEE W. SNIDER, a minor, by
his mother, ELIZABETH C. SNIDER,

Plaintiff,
Vv.
STERLING AIRWAYS, INC,,
Defendant,

and

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CONTINENTAL MOTORS, INC.; TDY )
INDUSTRIES, INC.; ALLEGHENY ) Case No.
TECHNOLOGIES INCORPORATED; )
TELEDYNE TECHNOLOGIES )
INCORPORATED; and TECHNIFY )
)
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MOTORS (USA), INC.,
Defendants and Third Party Plaintiffs,

¥.

THE UNITED STATES OF AMERICA,

LISE LEMELAND JESSUP, as Administratrix
of the Estate of PATRICK C. JESSUP,
PATRICIA PIERCE, and

MEGAN LEWIS-WHITEMAN, as
EXECUTRIX OF THE ESTATE OF
RODNEY L. WHITEMAN,

Third Party Defendants.
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 9 of 97

NOTICE OF REMOVAL

1. This action is being removed pursuant to 28 U.S.C. §§ 1442(a)(1),
2679(d)(2) and 1446,

2. On June 21, 2010, a Cessna T210 airplane crashed near the William T.
Piper Memorial Airport in Lock Haven, Pennsylvania, fatally injuring Daniel A. Snider
and two others.

3. On May 31, 2012, Plaintiffs Elizabeth C. Snider, individually and
as Executrix of the Estate of Daniel A, Snider, and Lee W. Snider, a minor, by his mother
Elizabeth Snider, filed suit against Sterling Airways, Inc., and Continental Motors, Inc.,
TDY Industries, Inc., Allegheny Technologies Incorporated, Teledyne Technologies
Incorporated, and Technify Motors (USA), Inc. (collectively, “Teledyne Defendants”) in
the Court of Common Pleas for Philadelphia County, Pennsylvania.

4, On May 10, 2013, the Teledyne Defendants filed a third-party complaint
against Patricia Pierce and Megan Lewis- Whiteman, as Executrix of the Estate of Rodney
L, Whiteman. (Ex. A, Third-Party Complaint.)

5. The Third-Party Complaint alleges that Ms. Pierce and Mr, Whiteman had
“responsibility for administration” of a contract between Sterling Airways, Inc. and the
United States Department of Agriculture, Forest Service “on behalf of the United States
of America.” (Third-Party Complaint ¥ 20.)

6. As set forth in the attached Certification, Ms. Pierce and Mr. Whiteman

were acting within the scope of their employment with the United States Forest Service at
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 10 of 97

the time of the conduct alleged in the Third-Party Complaint. (Ex. B, Certification of
Scope of Employment.)
7. 28 U.S.C. § 2679(d)}(2) states:

Upon certification by the Attorney General that the defendant
employee was acting within the scope of his office or employment at
the time of the incident out of which the claim arose, any civil action
or proceeding commenced upon such claim in a State court shall be
removed without bond at any time before trial by the Attorney
General to the district court of the United States for the district and
division embracing the place in which the action or proceeding is
pending. Such action or proceeding shall be deemed to be an action
or proceeding brought against the United States under the provisions
of this title and all references thereto, and the United States shall be
substituted as the party defendant. This certification of the Attorney
General shal! conclusively establish scope of office or employment
for purposes of removal.

8. This action may, therefore, be removed to the District Court for the Eastern
District of Pennsylvania without bond pursuant to 28 U.S.C. §§ 1442(a)(1), 2679(d)(2)
and 1446.

Date: May 24 , 2013
Respectfully submitted,

STUART DELERY
Acting Assistant Attorney General

ZANE DAVID MEMEGER
United States Attorney

MARGARET L. HUTCHINSON
Assistant United States Attorney
Chief, Civil Division

VIVECA PARKER
Assistant United States Attorney
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 11 of 97 ©

{s/ Alan D, Mattioni

ALAN D. MATTIONI
STEVEN A. KIRSCH

Trial Attorneys

U.S, Department of Justice
Civil Division, Torts Branch
P.O. Box 14271
Washington, DC 20044-4271
Telephone: (202) 616-4104
Fax: (202) 616-4002
Alan.Mattioni@usdoL.gov

 
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 12 of 97

CERTIFICATE OF SERVICE
1, Alan D. Mattioni, hereby certify that a true and correct copy of the foregoing
was served upon each of the following via U.S. Mail on May 24 , 2013:

Howard Klein, Esquire

P. Connell McNulty, Esquire

Conrad O’Brien PC
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hklein@conradobrien.com
pmenulty@conradobrien.com
Attorneys for the Teledyne Defendants

 

and

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Attorneys for the Teledyne Defendants

and

John R. Merinar, Jr., Esquire
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Attorneys for Plaintiff Elizabeth C. Snider

and
Case 2:13-cv-02949-JCJ Document1 Filed 05/29/13 Page 13 of 97

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Attorneys for Sterling Airways, Inc.

{sf Alan D. Mattioni

ALAN D. MATTIONI

Trial Attorney

U.S. Department of Justice
Crvil Division, Torts Branch
P.O. Box 14271
Washington, DC 20044-4271
Telephone: (202) 616-4104
Fax: (202) 616-4002

Alan. Mattioni@usdoj.gov
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 14 of 97

Snider y. Sterling Airways, Inc., et al.
Notice of Removal
Exhibit “A” — Third-Party Complaint
Case 2:13-cv-02949-JCJ Document1 Filed 05/29/13 Page 15 of 97

CONRAD O’BRIEN PC
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pmenulty@conradobrien,com

DEFOREST KOSCELNIS YORITIS
SKINNER & BERARDINELLI

By: Walter P. DeForest (No, 05009)
Matthew S. McHale (No. 91880)
Will S. Skinner (Member of Cal. Bar)

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mehale@deforestlawfirm.com

skinner@deforestlawfirm.com

 

ELIZABETH C, SNIDER, Individually
and as Executrix of the Estate of DANIEL
A, SNIDER, and LEE W. SNIDER, a
minor, by his mother, ELIZABETH C.
SNIDER,

Plaintiffs,

Vv,
STERLING AIRWAYS, INC,,

Defendant,
and

CONTINENTAL MOTORS, INC.;

TDY INDUSTRIES, INC.;

ALLEGHENY TECHNOLOGIES
INCORPORATED; TELEDYNE
TECHNOLOGIES INCORPORATED; and
TECHNIFY MOTORS (USA), INC.,

Defendants and Third Party Plaintiffs,

 

Attorneys for Defendants and Third
Party Plaintiffs Continental Motors,
ine., TDY Industries, LLC (improperly
named as TDY Industries, Inc, in this
action), Allegheny Technologies
Incorporated, Teledyne Technologies
Incorporated, and Technify Motor
(USA), Inc. (improperly named as
Technify Motors (USA), Inc. in this
action).

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

MAY TERM, 2012

NO, 003753
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Vv.

THE UNITED STATES OF AMERICA,
LISE LEMELAND JESSUP, as
Administratrix of the Estate of PATRICK C,
JESSUP, PATRICIA PIERCE, and MEGAN
LEWIS-WHITEMAN, as EXECUTRIX OF
THE ESTATE OF RODNEY L,
WHITEMAN,

Third Party Defendants.

 

DEFENDANTS’ COMPLAINT
AGAINST ADDITIONAL THIRD-PARTY DEFENDANTS PATRICIA PIERCE AND
MEGAN LEWIS-WHITEMAN, AS EXECUTRIX OF THE ESTATE OF RODNEY L.
WHITEMAN

Defendants Continental Motors, Inc., TDY Industries, LLC,' Allegheny Technologies
Incorporated, Teledyne Technologies Incorporated, and Technify Motor (USA), Inc.,” (the
“Joining Defendants”), by and through their undersigned counsel, file this Complaint joining
Patricia Pierce and Megan Lewis-Whiteman, as Executrix of the Estate of Rodney L. Whiteman,
as third-party defendants in addition to third-party defendants joined in the Complaint filed June
20, 2012, and in support thereof aver as follows:

L. On May 31, 2012, plaintiffs Elizabeth C. Snider, individually and as Executrix of
the Estate of Daniel A, Snider, and Lee W, Snider, a minor, by his mother, Elizabeth C. Snider,
brought an action in the Philadelphia County Court of Common Pleas against, among others,
Continental Motors, Inc, (‘CMI’), Teledyne Technologies Incorporated (“TTY’), and Technify

Motor (USA), Inc. (“TMI”), seeking, inter alia, damages, individually and on behalf of their

decedent, Daniel A. Snider, arising out of an alleged June 21, 2010 accident involving a Cessna

 

' Plaintiffs improperly name TDY Industries, LLC as TDY Industries, Inc. in this action.
* Plaintiffs improperly name Technify Motor (USA), Inc, as Technify Motors (USA), Inc. in this

action.
2
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aircraft, Registration No. N30266 (the “Ajircraft”) on approach to the airport in Lock Haven,
Pennsylvania. A copy of the Complaint is attached hereto as Exhibit 1.

2, On May 31, 2012, the action was removed to the United States District Court for
the Eastern District of Pennsylvania by defendants CMI, TTI, and TMI. (ECF No. 1).

3, The Complaint alleges, inter alia, that Daniel A. Snider, at the time of his death,
was an employee of the United States Department of Agriculture, Forest Service (Exhibit 1 2),
which had entered into Contract Number AG-3604-C-08-0002 (the “Contract”) with defendant
Sterling Airways, Inc. (‘Sterling’), pursuant to which Contract Sterling provided the United
States Department of Agriculture, Forest Service with the Aircraft and pilot, Patrick Jessup,
which were involved in the accident in which Mr, Snider sustained fatal injuries. A copy of the
Contract is attached hereto at Exhibit 2.

4, Plaintiffs further allege that pursuant to the Contract, Sterling promised to
maintain and operate the Aircraft in accord with the requirements of Part 135 of the Federal
Aviation Regulations (“FARs”) (Exhibit 1 | 12). Upon information and belief, the United States
Department of Agriculture, Forest Service had chartered the Aircraft since March 28, 2008, and
had a duty to assure that proper maintenance was performed upon the Aircraft at its home base at
the Sterling facility in Hornell, New York,

5, The Contract was entered on March 28, 2008. The United States Department of
Agriculture, Forest Service could renew the Contract for four one year periods, (Exh, 2 at 7 B.1).

6. The Contract requires Sterling to “provide appropriate and Forest Service certified
and approved aircraft and pilot as described in Section C [of the Contract] in order for the

Government to conduct aerial surveys.” (Exh. 2 at {B.1).
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7, The Contract requires that the aircraft provided by Sterling “comply with all FAR
Part 135 requirements,” and it requires that the Regional Aviation Maintenance Program
Manager inspect the aircraft before the Contract is operational, (Exh. 2 at ¢C.1).

8. The Contract requires the United States Department of Agriculture, Forest Service
to approve an inspection system for the services provided under the Contract. (Exh, 2 at § E.1).

9, Before each flight, the Contract requires the United States Department of
Agriculture, Forest Service, through its designated employee(s), and the contractor, Sterling, to

have a safety plan in place, (Exh, 2 at { €.9),

10, If the contractor, Sterling, fails to meet Contract standards, the Contract allows
the United States to take corrective action, including assuming responsibility for performance or
termination of the Contract, (Exh, 2 at f E,1). |

11, The Complaint asserts, inter alia, claims against Sterling stating that it “was
negligent, grossly negligent, and/or reckless in failing to maintain Aircraft N30266 in reasonably
safe condition, by failing to maintain N30266 in accord with the requirements of Part 135 of the
FAR’s,” and that such failures to maintain and inspect resulted in Plaintiffs’ injuries. (Exh, 1 4
28-30),

12, _ Piaintiffs also assert claims against the Joining Defendants sounding in strict
liability and other theories contending that the Aircraft’s engine was defective.

13. Patricia Pierce was an officer, employee, or agent of the United States Department
of Agriculture, Forest Service at all times relevant to Plaintiffs" Complaint and this Third Party
Complaint.

14, Rodney L. Whiteman was an officer, employee, or agent of the United States

Department of Agriculture, Forest Service at all times relevant to Plaintiffs’ Complaint and this

Third Party Complaint.
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15, Third Party Defendant Megan Lewis- Whiteman is, upon information and belief,
the Executrix of the Estate of Rodney L, Whiteman, deceased, and she resides at 108 Open
Ridge Road, Morgantown, West Virginia.

16, The Contract identifies Patricia Pierce as the Contracting Officer. (Exh, 2 at page
1A.)

17. ‘Ms. Pierce designated Rodney Whiteman, a former United States Department of
Agriculture, Forest Service officer, employee, or agent, the Contracting Officer’s Technical
Representative for the Contract, and authorized him to act on her behalf, with the exception of
those matters reserved for the Contracting Officer. See Ex. 3, March 28, 2008, letter from
Patricia Pierce to Rodney Whiteman, with attached form letter titled “Designation of Contracting
Officer’s Representative;” see also Ex. 4, March 28, 2008, letter from Patricia Pierce to James
Caneen.

18. As the Contracting Officer’s Technical Representative, Mr. Whiteman was
“responsible for administering the performance of work under [the] [C]ontract.” (ix. 2 at | G.2).
With the exception of those matters reserved for the Contracting Officer, he was also responsible
for “technical aspects of [the] [C]ontract.” (Ex. 4),

19, As the Contracting Officer, Ms. Pierce had various responsibilities, including but
not limited to giving written notice of any defects or non-conformance to the requirements of the
Contract. (Ex. 2 at J 1.6). Additionally, Ms. Pierce was authorized to issue a Notice to Proceed, to
terminate the Contract for default, and to enforce the Contract’s warranty provisions. See Ex. 3 at
“Designation of Contracting Officer’s Representative” form,

20. Ms. Pierce, along with Mr. Whiteman and other presently unknown federal

officers, employees, and agents, had ultimate responsibility for administration of the Contract, on
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behalf of the United States of America, including oversight of the Contract’s minimum
requirements and inspection services.

21, Upon information and belief, Sterling failed to inspect and maintain the Aircraft
in a reasonably safe condition in accord with the requirements of Part 135 of the Federal
Aviation Regulations,

22. Ms. Pierce and Mr. Whiteman, severally or jointly, along with other presently
unknown federal officers, employees, and agents, were negligent, grossly negligent, and reckless
in that they knew or should have known by an inspection of the Sterling facility and its records
and the Aircraft, all based in Hornell, New York, that Sterling lacked the qualifications and
equipment to properly maintain the Aircraft in reasonably safe condition and that Sterling was
not properly maintaining or providing for the maintenance of the Aircraft in reasonably safe
condition at its home base in Hornell, New York.

23, ‘The decision of Ms. Pierce and Mr, Whiteman, severally or jointly, along with
other presently unknown federal officers, employees, and agents, to charter the Aircraft was done
negligently, grossly negligently, and recklessly without ensuring that Sterling was qualified to
perform the chartering services, including the maintenance of the Aircraft, from the Aireraft’s
home base in Hornell, New York.

24. Ms, Pierce and Mr. Whiteman, severally or jointly, along with other presently
unknown federal officers, employees, and agents, knew or should have known that Sterling did
not have in place appropriate or suitable maintenance practices which would allow the Aircraft to
be operated in a reasonably safe manner from its home base in Hornell, New York, knew or
should have known that Sterling was not properly maixtaining or having maintained the Aircraft

from its home base in Hornell, New York, and was negligent, grossly negligent, and reckless in

 
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permitting use of the Aircraft for the business of the United States of America from the Aircraft’s
home base in Horneli, New York.

25, Further, Ms. Pierce and Mr. Whiteman, severally or jointly, along with other
presently unknown federal officers, employees, and agents, negligently, grossly negligently, and
recklessly knew or should have known that Sterling did not have in place appropriate C.F.R.
Title 14, Part 135 requirements, which would have allowed the Aircraft to be operated from its
home base in Hornell, New York, in a safe manner; negligently, grossly negligently, and
recklessly knew or should have known that Sterling was not maintaining the Aircraft at its home
base in Hornell, New York, in accordance with C.F.R. Title 14, Part 135, and was negligent,
grossly negligent, and reckless in permitting the Aircraft to be operated, including permitting it
to depart from its home base in Hornell, New York on the trip when the accident occurred,

26. Ms, Pierce and Mr. Whiteman, severally or jointly, along with other presently
unknown federal officers, employees, and agents, negligently and grossly negligently failed to
perform or negligently and grossly negligently performed their respective duties as Contracting
Officer and Contracting Officer’s Technical Representative. They, severally or jointly, along
with other presently unknown federal officers, employees, and agents, negligently and grossly
negligently failed to oversee or adequately oversee the inspection of the Aircraft at its home base
in Hornell, New York and in so doing contributed to the negligent and grossly negligent
maintenance of the Aircraft from its home base in Hornell, New York and the Plaintiffs’ alleged
injuries.

27.  ‘Thealleged negligent and grossly negligent misconduct did not involve a
discretionary function or duty on the part of a federal agency or federal employee, nor did it

implicate a decision grounded in social, economic, and political policy.
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28. Among other negligent and grossly negligent acts, Ms. Pierce and Mr. Whiteman,
severally or jointly, along with other presently unknown federal officers, employees, and agents,
failed to determine that the Aircraft was properly maintained, inspected, airworthy at all relevant
times, and suitable for charter from its home base in Hornell, New York.

29, As the sole or contributory fault of Ms. Pierce and/or Mr. Whiteman, along with
other presently unknown federal officers, employees, and agents, the Aircraft crashed,

30. Ms, Pierce, along with other presently unknown federal officers, employees, or
agents, negligently, grossly negligently and completely failed to monitor Sterling’s insurance
coverage under the Contract, and therefore, on information and belief, Sterling only had
$100,000 of coverage on the day of the accident when the Aircraft departed from its home base
in Hornell, New York — far less insurance coverage than required under the Contract. Ms. Pierce,
severally, or jointly along with other presently unknown federal agents, acted with reckless
disregard and was negligent and grossly negligent in performing her oversight obligations.

31. Although Joining Defendants deny any liability to Plaintiffs, to the extent that
they are found liable to Plaintiffs, they aver that Ms. Pierce and Megan Lewis-Whiteman, as
Executrix of the Estate of Rodney L, Whiteman, are solely and/or jointly and/or severally liable
for the injuries claimed by Plaintiffs in the aforementioned action, and as a result, they are liable
over to the Joining Defendants for indemnity and/or contribution.

WHEREFORE, in the event that one or more of the Joining Defendants are found liable
to Plaintiffs, which liability is denied, the Joining Defendants demand judgment in their favor
and against Patricia Pierce and Megan Lewis-Whiteman, as Executrix of the Estate of Rodney L.
Whiteman, on the basis that they, severally or jointly, are liable over to the Joining Defendants

for indemnification and/or contribution,

A TRIAL BY JURY OF 12 IS DEMANDED ON ALL CLAMS SO TRIABLE.
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 23 of 97

Of Counsel:

Walter P, DeForest

Matthew S. McHale

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Will S. Skinner, Esquire

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sé Howard M. Klein

Howard M. Klein

P, Connell McNulty

Conrad O’Brien PC

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hilein@conradobrien.com
pmenulty@conradobrien,com

Attorneys for Defendants and Third Party Plaintiffs
Continental Motors, Inc, TDY Industries, LLC
(improperly named as TDY Industries, Inc, in this
action), Allegheny Technologies Incorporated,
Teledyne Technologies Incorporated, and Technify
Motor (USA), Inc. (improperly named as Technify
Motors (USA), Ine. in this action)
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VERIFICATION
I, G. Scott Rantovich, hereby certify that I am the Assistant Treasurer for
Allegheny Technologies Incorporated and am authorized to execute this verification on
behalf of Allegheny Technologies Incorporated. I hereby state that the facts set forth in
the foregoing Defendants’ Third-Party Complaint are true and correct to the best of my
knowledge, information and belief.
I understand that this statement is made subject to the penalties of 18 Pa. Cons.

Stat. Ann. § 4904, relating to unsworn falsification to authorities.

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G. Scott Rantovich
Assistant Treasurer
Allegheny Technologies Incorporated
Case 2:13-cv-02949-JCJ Document1 Filed 05/29/13 Page 25 of 97

VERIFICATION
I, G. Scott Rantovich, hereby certify that I am the Assistant Treasurer for TDY
Industries, LLC and am authorized to execute this verification on behalf of TDY
Industries, LLC. I hereby state that the facts set forth in the foregoing Defendants’ Third~
Party Complaint are true and correct to the best of my knowledge, information and belief.
I understand that this statement is made subject to the penalties of 18 Pa. Cons,

Stat. Ann. § 4904, relating to unsworn falsification to authorities.

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G, Seott Rantovich
Assistant Treasurer
TDY Industries, LLC
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 26 of 97

VERIFICATION
I, Chris Rowe, hereby certify that ] am the Controller for Continental Motors, Inc.
and am authorized to execute this verification on behalf of Continental Motors, Inc. I
hereby state that the facts set forth in the foregoing Defendants’ Third-Party Complaint
are true and correct to the best of my knowledge, information and belief.
[ understand that this statement is made subject to the penalties of 18 Pa. Cons.

Stat, Ann. § 4904, relating to unsworn falsification to authorities,

Date: s[4 [ I> ==

Chris Rowe
Controller
Continental Motors, Inc.
soar deep 0%

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VERIFICATION

1. ‘Tian Shan, hereby certify that lam the President and Chief Bxeculive Officer af
Technify Motor (USA), Inc, and am authorized lo cxecute this verificalion on behalf of
Technify Motor (SA), Inc. | hereby slate thal the facts set forth in (he foregoing
Defendants’ Third-Party Complaint are true and correct to the best of my knowledge,
information and belief.

1 understand that this statement is made subject to the penalties of 18 Pa, Cons.
Stat Ann. § 4904, relaling lo unsworn falsification lo authorities,

\Q ee Hf hew.

ate: fy byt t ; ] _ 2 | 4
(Actually May) TIAN SH AN
President and Chief Executive Officer
Technify Motor (LISA), Ine,

 
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VERIFICATION
I, Melanie S, Cibik, hereby certify that 1 am Senior Vice President, General
Counse! and Secretary for Teledyne Technologies Incorporated and am authorized to
execute this verification on behalf of Teledyne Technologies Incorporated. I hereby state
that the facts set forth in the foregoing Defendants’ Third-Party Complaint are true and
correct to the best of my knowledge, information and belief,
1 understand that this statement is made subject to the penalties of 18 Pa, Cons,

Stat. Ann. § 4904, relating to unsworn falsification to authorities,

Date: {Va 7 CLD 17S CW osc A. COAG
C/ Melanie S. Cibik
Senior Vice President, General Counsel and

Secreiary
Teledyne Technologies Incorporated
Case 2:13-cv-02949-JCJ Document1 Filed 05/29/13 Page 29 of 97

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing document
was filed with the Court on May 10, 2013, and caused to be served upon the following counsel
via the Court’s electronic filing system or via U.S. Mail on that date:

John R. Merinar, Jr., Esquire
Steptoe & Johnson PLLC
400 White Oaks Boulevard
Bridgeport, WV 26330-4500
Jack.merinar@steptoe-johnson.com
Attorney for Elizabeth C. Snider, Individually and as Executrix of the Estate of Daniel A, Snider,
and Lee W. Snider, a minor, by his mother, Elizabeth C. Snider

Jeffrey W. Moryan, Esquire
Laurie B. Kachonick, Esquire
Michael J. Crowley, Esquire
Patrick J. Hughes, Esquire
Michael J, Shortt, Esquire
Connell Foley LLP
85 Livingston Avenue
Roseland, NJ 07068
Attorneys for Sterling Airways, Inc. and Lise Lemeland Jessup, as Administratrix
of the Estate of Patrick C. Jessup

Alan D, Mattioni, Esquire
U.S. Department of Justice
Civil Division, Torts Branch
P.O, Box 14271
Washington, DC 20044-4271
Attorney for the United States of America

si P. Connell McNulty
P, Conneli McNulty
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EXHIBIT 1
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IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY, PENNSYLVANIA

ELIZABETH C. SNIDER, Individually and

as Executrix of the Estate of DANIEL A.

SNIDER, and LEE W. SNIDER, a minor, by

his mother, ELIZABETH C, SNIDER,
Plaintiffs,

¥,

STERLING AIRWAYS, INC,,
CONTINENTAL MOTORS, INC.,
TDY INDUSTRIES, INC., ALLEGHENY
TECHNOLOGIES INCORPORATED,
TELEDYNE TECHNOLOGIES
INCORPORATED, and TECHNIFY
MOTORS (USA), INC.,

Defendants.

6019820

CIVIL DIVISION

G.D, NO.

 

COMPLAINT IN CIVIL ACTION

CODE NO.

 

FILED ON BEHALF OF PLAINTIFFS
ELIZABETH C. SNIDER, Individually and
as Executrix of the Estate of DANIEL A.
SNIDER, and LEE W. SNIDER, a minor,
by his mother, ELIZABETH C. SNIDER.

Counsel of Record for Plaintiffs:

John R. Merinar, Jr.
Pennsylvania ILD, No, 204675

STEPTOE & JOHNSON PLLC

400 White Oaks Boulevard
Bridgeport, WV 26330-4500
304-933-8135

304-933-8183 (fax)

jack. merinar(@steptoe-johnson.com

 

JURY TRIAL DEMANDED

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IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY, PENNSYLVANIA

 

ELIZABETH C. SNIDER, Individually and CIVIL DIVISION
as Executrix of the Estate of DANIEL A.
SNIDER, and LEE W. SNIDER, a minor, G.D, NO,
by his mother, ELIZABETH C. SNIDER,
Plaintiffs,
v. COMPLAINT IN CIVIL ACTION
STERLING AIRWAYS, INC,, CODE NO.

 

CONTINENTAL MOTORS, INC.,
TDY INDUSTRIES, INC., ALLEGHENY
TECHNOLOGIES INCORPORATED,
TELEDYNE TECHNOLOGIES
INCORPORATED, and TECHNIFY
MOTORS (USA), INC,

Defendants.

NOTICE TO DEFEND

TO THE ABOVE DEFENDANT(S):

You have been sued in court. If you wish to defend against the claims set forth in
the following pages, you must take action within twenty (20) days after this Complaint and
Notice are served, by entering a written appearance personally, or by attorney, and by filing in
writing with the Court your defenses or objections to the claims set forth against you. You are
warned that if you fail to do so the case may proceed without you and judgment may be entered
against you by the Court without further notice for any money claimed in the Complaint or for
any claim or relief requested by the plaintiffs. You may lose money or property or other rights
important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE, IF
YOU DO NOT HAVE A LAWYER, TELEPHONE THE OFFICE SET FORTH BELOW
TO FIND OUT WHERE YOU CAN GET LEGAL HELP,

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY
BE_ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT
MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AS A REDUCED FEE OR

NO FEE,

PHILADELPHIA BAR ASSOCIATION
Lawyer Referral and Information Service
One Reading Center
Philadelphia, Pennsylvania 19107
(215) 238-6333

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AVISO

Le han demandado a usted en la corte, Si usted quiere defenderse de estas demandas
expuestas en las paginas siguientes, usted tiene veinte (20) dias de plazo al partir de la fecha de la
demanda y la notificacion. Hace falta ascentar una comparencia escrita 0 en persona o con un
abogado y entregar a la corte en forma escrita sus defensas o sus objeciones a las demandas en
contra de su persona, Sea avisado que si usted no se defiende, la corte tomara medidas y puede
continuar la demanda en contra suya sin previo aviso o notificacion. Ademas, la corte puede
decider a favor del demandante y requiere que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus propiedades u otros derechos importantes para usted.

LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE. SI_NO
TIENE ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO. VAYA EN PERSONA O LLAME POR TELEFONO ALA OFICINA CUYA
DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR DONDE SE
PUEDE CONSEGUIR ASISTENCIA LEGAL,

ASSOCIACION DE LICENCIADOS DE FILADELFIA
Servicio De Referencia E
Informacion Legal
One Reading Center
Filadelfia, Pennsylvania 19107
(215) 238-6333

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IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY, PENNSYLVANIA

 

ELIZABETH C. SNIDER, Individually and CIVIL DIVISION
as Executrix of the Estate of DANIEL A.
SNIDER, and LEE W, SNIDER, a minor, G.D. NO.
by his mother, ELIZABETH C. SNIDER,
Plaintiffs,
Vv. COMPLAINT IN CIVIL ACTION
STERLING AIRWAYS, INC.,, CODE NO.

 

CONTINENTAL MOTORS, INC.,
TDY INDUSTRIES, INC., ALLEGHENY
TECHNOLOGIES INCORPORATED,
TELEDYNE TECHNOLOGIES
INCORPORATED, and TECHNIFY
MOTORS (USA), INC.,

Defendants.

COMPLAINT

Come now the Plaintiffs, Elizabeth C. Snider, Individually and as Executrix of the
Estate of Daniel A, Snider, and Lee W. Snider, a minor, by his mother, Elizabeth C. Snider and
state as follows:

I. THE PARTIES

1. This is an action for wrongful death and survival arising out of the June
21, 2010 crash of Aircraft N30266 just short of Runway 9 at William T. Piper Memorial Airport
in Lock Haven, Pennsylvania. Daniel A. Snider died in the post-crash fire.

2. At the time of his death, Daniel A. Snider was a resident of Monongalia
County, West Virginia and an employee of the United States Department of Agriculture, Forest

Service (“Forest Service”),

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3, Elizabeth C, Snider was married to Daniel A. Snider at the time of his
death. She is the mother of Lee W. Snider and the Executrix of Daniel A. Snider’s estate. At all
times relevant to this matter, Elizabeth C. Snider has been a resident of Monongalia County,
West Virginia.

4, Lee W. Snider is the son of Daniel A. Snider. At all times relevant to this
matter, he has been a resident of Monongalia County, West Virginia.

5, Charles Snider and Sharon Snider are the parents of Daniel A, Snider,
They have elected not to participate as plaintiffs in this civil action. They reside at 245 Days
Run Road, Fairview, West Virginia 26570, and can be reached at (304) 879-5102.

6. Defendant Sterling Airways, Inc. (“Sterling”) is a New York corporation
with its principal place of business at 1160 Airport Road, Hormel, New York 14843,

7. Defendant Continental Motors, Inc. (“Continental”) (formerly known as
Teledyne Continental Motors, Inc.) is a Delaware corporation with its principal place of business
at 2039 Broad Street, Mobile, Alabama 36615, and a registered agent at c/o National Corporate
Research, Ltd., 600 North gn Street, Suite 500, Harrisburg, PA 17101.

8, Defendant TDY Industries, Inc. (““TDY”) (formerly known as Teledyne
Industries, Inc.) is a California corporation with its principal place of business at 1000 Six PPG
Place, Pittsburgh, Pennsylvania 15222.

9. Defendant Allegheny Technologies Incorporated, (“Allegheny”) (formerly
Allegheny Teledyne Incorporated) is a Delaware corporation with its principal place of business
at 1000 Six PPG Place, Pittsburgh, Pennsylvania 15222.

10. Defendant Teledyne Technologies Incorporated (“TTI”) is a Delaware

corporation with its principal place of business at 1049 Camino Dos Rios, Thousand Oaks,

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California 91360, and a registered agent at c/o National Corporate Research, Ltd., 600 North gn
Street, Suite 500, Harrisburg, PA 17101.

11. Defendant Technify Motors (USA), Inc. (“Technify”) is an Alabama
corporation with its principal place of business at 2039 Broad Street, Mobile, Alabama 36615.

II. JURISDICTION AND VENUE

12. Sterling is the registered owner of, and at the time of the accident which ts
the subject of this lawsuit was the operator of, a model T-210L airplane manufactured by Cessna
Aircraft Company and having identification number N30266 (“Aircraft N30266”). In 2007,
Sterling entered into contract number AG-3604-C-08-0002 (“the Contract”) with the Forest
Service. Pursuant to the Contract, Sterling provided the Forest Service with Aircraft N30266 and
a pilot, Patrick Jessup, for the purpose of conducting aerial deforestation surveys over several
states, including the Commonwealth of Pennsylvania. Sterling promised to maintain and operate
the aircraft in accord with the requirements of Part 135 of the Federal Aviation Regulations
(“FAR’s”) and to obtain Aircraft Public and Passenger Liability Insurance coverage in the
amount of not less than $200,000.00 per person. The contract term was for a one-year period,
after which the Contract automatically renewed for additional one-year periods. The Contract
was in a one-year renewal period when Aircraft N30266 crashed on June 21, 2010, resulting in
the deaths of passenger and Forest Service employee Daniel A. Snider, fellow passenger and
Forest Service employee Rodney L. Whiteman, and pilot and Sterling employee Patrick Jessup,

13, Pursuant to the Contract, Aircraft N30266, while piloted by Jessup, made
frequent stops at airports in Pennsytvania and routinely conducted aerial survey operations in
Pennsylvania airspace. On the date of the accident, Aircraft N30266, piloted by Jessup, departed
from the Hornell, New York airport and flew to the airport at Clarion, Pennsylvania to pick up

passengers Snider and Whiteman. The aircraft, its pilot, and its passengers then performed aerial

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survey operations over Pennsylvania before approaching the airport in Lock Haven,
Pennsylvania with the intent to land there. The engine suffered a catastrophic in-flight failure,
and the aircraft crashed just short of Runway 9 at the Lock Haven airport. Daniel A. Snider
survived the impact, but died in the post-crash fire.

i4. The Contract was issued by the Forest Service Northern Research Station
located in Newton Square, Pennsylvania. The Contracting Officer was Forest Service employee
Patricia Pierce, who was employed at the Northern Research Station located in Newton Square,
Pennsylvania.

15. On the date of the accident, Aircraft N30266 was equipped with a model
TSIO-520-H engine (serial number 198870-73H). The TSiO-520-H model engine was certified
by the Federal Aviation Administration by revising ‘Type Certificate E8CE on October 22, 1968.
Teledyne Continental Motors is shown on the type certificate as the current certificate holder for
the model TSIO-520-H engine. TCM did not yet exist as a corporate entity in 1968 when the
model TSIO-520-H engine was certified. At that time, the manufacturer and certificate holder
was Continental Aircraft Engine Co., a subsidiary of Continental Motor Company. Through
mergers in 1969, Continental Aircraft Engine Co. became an unincorporated division of
Defendant TDY (at the time known as Teledyne Industries, Inc.), Following the 1969 mergers,
this unincorporated division of defendant TDY began doing business under the name of
Teledyne Continental Motors.

16. The TSIO-520-H engine, serial number 198870-73H, was installed in
Aircraft N30266 in 1973, at which time TCM was an unincorporated division of defendant TDY.

17, TDY was, in turn, a wholly-owned subsidiary of defendant Allegheny (at

the time known as Allegheny Teledyne Incorporated). Allegheny and TDY did not function as

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truly separate corporate entities, Allegheny is the alter ego of TDY, and during the period from
1969 until 1999, was involved in an ongoing joint venture with TDY to manufacture, maintain
the certification of, promote, market, sell, provide product support, and service aircraft engines
and parts thereof, including the model TSIO-520-H engines and engine parts. Furthermore, TDY
and Allegheny are successors and real parties in interest with regard to liabilities incurred by the
Continental Aircraft Engine Co. and its parent, Continental Motor Company, with regard to
manufacture and certification of model TSIO-520-H engines,

18. In 1999, defendant TTI purchased all assets and liabilities of the
unincorporated division known as TCM-Piston Engines from defendant Allegheny, This
transaction has been described by TDY, Allegheny, and TTI as a “spin off’ pursuant to which
TTI assumed all responsibility for liability for piston engine production by TCM while it was
part of TDY. In fact, TTI became involved in a joint venture with TDY and Allegheny to
manufacture, maintain the certification of, market, sell, and provide product support for aircraft
engines and parts thereof, including model TSIO-520-H engines and engine parts.

19. In 2001, the unincorporated division of TTI known as Teledyne
Continental Motors was incorporated under the name, Teledyne Continental Motors, Inc. Along
with TTI, TDY, and Allegheny, Teledyne Continental Motors, Inc. engaged in a joint venture to
manufacture, maintain the certification of, market, sell, and provide product support for aircraft
engines and parts thereof, including model TSIO-520-H engines and engine parts.

20. In 2011, Teledyne Continental Motors, Inc. changed its name to
Continental Motors, Inc. Shortly thereafter, Continental Motors, Inc. was sold to Technify
Motors (USA), Inc. Technify is a successor and real party in interest with regard to abilities

incurred by Continental Motors, Inc., formerly known as Teledyne Continental Motors, Inc.

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21. TDY, Allegheny, Continental, TTI, and Technify (“the Teledyne
defendants”), and the TCM operational division which they controlled, are or have been the
designers, manufacturers, assemblers, marketers, promoters, sellers, certifiers, and product
support suppliers with regard to model TSIO-520-H engines. Upon information and belief, the
Pennsylvania Teledyne defendants (TDY and Allegheny) failed to function and legally act as
independent companies and failed to independently and adequately capitalize their business
functions. By way of example, when Allegheny owned TDY, and TCM was an unincorporated
division of TDY, Allegheny reported TCM’s revenue as its own. Allegheny and TDY
comingled the majority of corporate officers, and Allegheny advertised TCM as its own
operating division without reference to TDY. As a result of the aforementioned failures to
observe corporate formalities, the corporate veils of the Pennsylvania Teledyne defendants
should be pierced.

22, The 1999 “spin off’ of TCM from Allegheny was done for the purpose of
shielding Allegheny from liability for known defects in TCM engines, including model TSIO-
520-H engines.

23, The Teledyne defendants and their unincorporated division applied for
certification, performed certification testing, designed, and certified the TSIO-520-H engine as
safe and airworthy. These defendants became aware of manufacturing defects with the hydraulic
valve lifter assemblies, connecting rod assemblies, connecting rod bolts and nuts, cylinder
assemblies, exhaust valves, exhaust valve guides, crankshafts, bearings, and pistons of the TSIO-
520-H engine, yet they continued to represent to regulatory authorities and the public that the

TSIO-520-H engine was suitable and reliable. For example, they failed to disclose that:

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a, The process used for seating exhaust valve guides resulted in
distortions of the exhaust valve guides, causing their inner surfaces to be misshapen, which in
turn resulted in higher stresses and wear rates on exhaust valves.

b. The exhaust valves were not the correct size for the exhaust valve
guides. Clearances between exhaust valves and exhaust valve guides were beyond tolerance
limits at the time the Teledyne defendants assembled the cylinders. As a consequence, exhaust
valves were subjected to extraordinary stresses and prone to fracture.

c The exhaust valves were not forged of the correct alloy, making
them more brittle and susceptible to fracture.

d. The undersized exhaust valves permitted the escape of exhaust
gasses at an unsafe rate, resulting in “coking” on the valves, which in turn prevented the valve
guides, valves, and valve seats from operating properly; thus, subjecting the valves to heat and
mechanical stresses that made them prone to failure.

e. The exhaust valves and exhaust valve guides were not aligned
properly.

f The pistons were not forged of the correct alloy, making them
more brittle and susceptible to fracture when impacting valves which, due to the defects
described in subparagraphs (a)-(e) above, were not seated properly.

24. The Teledyne defendants, and/or the TCM operating division which they
controlled, manufactured, maintained the certification of, promoted, and sold engine parts, some
or all of which were in defective and unreasonably dangerous condition, including, but not
limited to, hydraulic valve lifter assemblies, connecting rod assemblies, connecting rod bolts and

nuts, cylinder assemblies, exhaust valves, exhaust valve guides, crankshafts, bearings, and

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pistons which were installed in Aircraft N30266 during the period between 2004 and the date of
the accident.

25. The Teledyne defendants, and/or the TCM operating division which they
controlled, also provided service and maintenance guidance, training and other support regarding
the TSIO-520-H and other engines and parts that they manufactured. Through their “TCM Link
FBO Services” program, the Teledyne defendants have entered into and maintain contractual
relationships with Pennsylvania “Fixed Base Operators” (“FBO’s”), which are companies
engaged in the business of aircraft operations, support, and maintenance. Through their TCM
Link FBO Services Program, the Teledyne defendants provide Pennsylvania FBO’s with
maintenance/service training, service manuals, promotional materials, and other written
information and guidance. Pennsylvania FBO’s maintaining memberships in the Teledyne
defendants’? TCM Link FBO Services Program are authorized to hold themselves out to the
public as authorized Continental service/repair facilities. Through the member FBO’s, the
Teledyne defendants promoted the sale of TCM engines and engine parts in Pennsylvania.

26. Venue is proper in this Court under the provisions of Pa, R. Civ, P. 2179
in that one or more of the defendant corporations have their principal places of business in
Allegheny County, Pennsylvania.

27. This Court has jurisdiction over the defendants under the provisions of
42 Pa. Cons. Stat. § 5322(a)(1) in that all of them have conducted business within Pennsyivania,

Ill. WRONGFUL DEATH AND SURVIVAL ACTION
A, STERLING

28. Defendant Sterling was negligent, grossly negligent, and/or reckless in
failing to maintain Aircraft N30266 in reasonably safe condition, by failing to maintain aircraft

N30266 in accord with the requirements of part 135 of the FAR’s, and by failing to comply with

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issuance and compliance requirements for an Air Carrier Certificate as set forth in Part 119 of the
FAR’s. By way of example, Sterling failed to calibrate instruments used to check compression
during annual inspections and failed to use a bore scope to inspect cylinders and their component
parts. Sterling’s negligent failure to adequately inspect and maintain Aircraft N30266 was a
proximate cause of the wrongful death of Daniel A. Snider. Sterling breached the Contract with
the Forest Service by failing to maintain Aircraft N30266 in accord with the requirements of
Parts 119 and 135 of the FAR’s, and by procuring Aircraft Public and Passenger Liability
Insurance coverage in the amount of $100,000.00 per person instead of in the contractually-
required amount of not less than $200,000.00 per person. Plaintiffs are third-party beneficiaries
of the portions of the Contract which Sterling breached.

29. Asa result of Sterling’s negligence, gross negligence, recklessness, and
breach of contract, Elizabeth Snider and Lee Snider have suffered anguish and emotional
distress, loss of consortium, funeral expenses, the costs of administering Daniel A. Snider’s
Estate, and the loss of household services provided by Daniel A. Snider. Elizabeth Snider and
Lee Snider are entitled to recover damages, pursuant to 42 Pa, Cons, Stat. § 8301, from Sterling
for their anguish and emotional distress, loss of consortium, funera! expenses, the costs of
administering Daniel A. Snider’s Estate and the loss of household services provided by Daniel A.
Snider,

30. As a result of Sterling’s negligence, gross negligence, recklessness, and
breach of contract, Daniel A. Snider experienced tremendous pain and suffering, emotional
distress, and loss of future income and earning capacity. Pursuant to 42 Pa, Cons, Stat. § 8302

and 20 Pa. Cons. Stat. § 3373, the Estate of Daniel A. Snider is entitled to recover damages from

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Sterling for Daniel A. Snider’s lost future income and earning capacity, pain and suffering

experienced, emotional distress, and punitive damages.

B. TDY AND ALLEGHENY

31. Defendants TDY and Allegheny engaged in a joint venture from 1969 to
1999 to manufacture, maintain the certification of, promote, market, sell, provide product
support for, and service aircraft engines and parts thereof, including model TSIO-520-H engines.
Upon information and belief, these defendants manufactured, promoted, marketed, and sold
engine parts, including, but not limited to, hydraulic valve lifter assemblies, connecting rod
assemblies, connecting rod bolts and nuts, cylinder assemblies, exhaust valves, exhaust valve
guides, crankshafts, bearings, and pistons which were then installed on aircraft N30266’s TSIO-
520-H engine, serial number 198870-73H, between 2004 and the date of the accident. TDY and
Allegheny warranted that engine, serial number 198870-73H, and the parts manufactured by
them and installed in aircraft N30266 between 2004 and the date of the accident, were free of
material defects, fit for use, and safe for use in aircraft. TDY and Allegheny breached this
warranty because some or all of the aforementioned engine parts were manufactured, promoted,
marketed and sold by these defendants in defective and unreasonably unsafe condition, as set
forth in paragraph 26 and its subparagraphs, incorporated herein by reference. These defective
parts failed in flight, causing the death of Daniel A. Snider. Defendants TDY and Allegheny are
strictly liable for the damages caused by the failure of these engine parts. Defendants TDY and
Allegheny are also guilty of negligence, gross negligence, and recklessness because, during the
period of their joint venture described above, they became aware of problems with the
manufacturing process for the TSIO 520 series of engines and parts thereof, including but not

limited to those problems described in paragraph 26 and its subparagraphs. TDY and Allegheny

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nevertheless continued to represent to regulatory authorities and to the public that the TSIO-520-
H engines and parts thereof were suitable and reliable. Upon information and belief, some or all
of the TCM parts (hydraulic valve lifter assemblies, connecting rod bolts and nuts, cylinder
assemblies, exhaust valves, exhaust valve guides, crankshafts, bearings and pistons), which were
installed on the TSIO-520-H engine serial number 198870-73H between 2004 and the date of the
accident, were manufactured, promoted, marketed, and sold at a time when TDY and Allegheny
were aware that manufacturing process problems were causing such parts to be defective and in
unreasonably unsafe condition.

32,  Asaresult of TDY’s and Allegheny’s breach of warranty, strict liability,
negligence, gross negligence, and recklessness, Elizabeth Snider and Lee Snider have suffered
_ anguish and emotional distress, loss of consortium, funeral expenses, the costs of administering
Daniel A. Snider’s Estate, and the loss of household services provided by Daniel A. Snider.
Elizabeth Snider and Lee Snider are entitled to recover damages pursuant to 42 Pa. Cons, Stat. §
8301 from TDY and Allegheny for their anguish and emotional distress, loss of consortium,
funeral expenses, the costs of administering Daniel A. Snider’s Estate, and the loss of household
services provided by Daniel A. Snider.

33. As a result of TDY’s and Allegheny’s negligence, gross negligence,
recklessness, strict liability, and breach of warranty, Daniel A. Snider experienced tremendous
pain and suffering, emotional distress, and loss of future income and earning capacity. Pursuant
to 42 Pa. Cons. Stat. § 8302 and 20 Pa. Cons. Stat, § 3373, the Estate of Daniel A. Snider ts
entitled to recover damages from TDY and Allegheny for Daniel A. Snider’s lost future income
and earning capacity, pain and suffering, emotional distress, and punitive damages.

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34. Defendant TTI is a real party and successor in interest to defendants TDY
and Allegheny. Upon information and belief, TTI engaged in a joint venture with defendants
TDY and Allegheny during the period from 1999 through 2001 to manufacture, maintain the
certification of, promote, market, sell, provide product support for, and service aircraft engines
and parts thereof, including model TSIO-520-H engines. Upon information and belief, through
this joint venture, TTI manufactured, promoted, marketed, and sold engine parts, including, but
not limited to, hydraulic valve lifter assemblies, connecting rod assemblies, connecting rod bolts
and nuts, cylinder assemblies, exhaust valves, exhaust valve guides, crankshafts, bearings, and
pistons which were installed on the aircraft N30266’s TSIO-520-H, engine serial number
198870-73H, between 2004 and the date of the accident. Through this joint venture, TTI
warranted that engine serial number 198870-73H, and the parts thereof manufactured by it or its
predecessors in interest, and installed in aircraft N30266’s TSIO-520-H engine between 2004
and the date of the accident, were free of material defects, fit for use, and safe for use in aircraft.
TTI breached this warranty because some or all of the aforementioned engine parts were
manufactured, promoted, marketed and sold by these defendants in defective and unreasonably
unsafe condition, as set forth in paragraph 26 and its subparagraphs, incorporated herein by
reference. These defective parts failed in flight, causing the death of Daniel A. Snider.
Defendant TT] is strictly liable for the damages caused by the failure of these engine parts. TT
is also guilty of negligence, gross negligence, and recklessness because TT and its predecessors
in interest, TDY and Allegheny, became aware of problems with the manufacturing process for
the TSIO 520 series of engines and parts thereof, including but not limited to those problems
described in paragraph 26 and its subparagraphs. TTI and its predecessors in interest, TDY and

Allegheny, nevertheless continued to represent to regulatory authorities and to the public that the

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TSIO-520-H engines and parts thereof were suitable and reliable. TTI adopted and perpetuated
this pattern of misrepresentation, Upon information and belief, some or all of the TCM parts
(hydraulic valve lifter assemblies, connecting rod assemblies, connecting rod bolts and nuts,
cylinder assemblies, exhaust valves, exhaust valve guides, crankshafts, bearings, and pistons),
which were installed on aircraft N30266’s TSIO-520-H engine serial number 198870-73H
between 2004 and the date of the accident, were manufactured, promoted, marketed, and sold at
atime when TDY and Allegheny were aware that manufacturing process problems were causing
such parts to be defective and unreasonably unsafe in condition, and TTI became aware of this
upon assuming responsibility for the unincorporated division known as TCM.

35. As aresult of TTI’s breach of warranty, strict liability, negligence, gross
negligence, and recklessness, Elizabeth Snider and Lee Snider have suffered anguish and
emotional distress, loss of consortium, funeral expenses, the costs of administering Daniel A.
Snider’s Estate, and the loss of household services provided by Daniel A. Snider. Elizabeth
Snider and Lee Snider are entitled to recover damages Pursuant to 42 Pa, Cons, Stat. § 8301 from
TTI for their anguish and emotional distress, loss of consortium, funeral expenses, the costs of
administering Daniel A. Snider’s Estate, and the loss of household services provided by Daniel
A. Snider,

36, Asa result of TTI’s negligence, gross negligence, recklessness, strict
liability, and breach of warranty, Daniel A. Snider experienced tremendous pain and suffering,
emotional distress, and loss of future Income and earning capacity. Pursuant to 42 Pa. Cons.
Stat. § 8302 and 20 Pa. Cons. Stat. § 3373, the Estate of Daniel A. Snider is entitled to recover
damages from TTI for Daniel A. Snider’s lost future income and earning capacity, pain and

suffering, emotional distress, and punitive damages.

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D. CONTINENTAL

37. Defendant Continental Motors, Inc. is a real party and successor in interest
to defendants TDY, Allegheny, and TTL Upon information and belief, Continental engaged in a
joint venture with defendants TDY, Allegheny, and TTI during the period from 2001 through
2011 to manufacture, maintain the certification of, promote, market, sell, provide product
support for, and service aircraft engines and parts thereof, including model TSIO-520-H engines.
Upon information and belief, through this joint venture, Continental manufactured, promoted,
marketed, and sold engine parts, including, but not limited to, hydraulic valve lifter assemblies,
connecting rod assemblies, connecting rod bolts and nuts, cylinder assemblies, exhaust valves,
exhaust valve guides, crankshafts, bearings, and pistons which were installed on aircraft
N30266’s TSIO-520-H, engine serial number 198870-73H, between 2004 and the date of the
accident. Through this joint venture, Continental warranted that engine serial number 198870-
73H, and the parts thereof manufactured by it or its predecessors in interest, and installed in
aircraft N30266’s TSIO-520-H engine between 2004 and the date of the accident, were free of
material defects, fit for use, and safe for use in aircraft. Continental breached this warranty
because some or all of the aforementioned engine parts were manufactured, promoted, marketed
and sold by these defendants in defective and unreasonably unsafe condition, as set forth in
paragraph 26 and its subparagraphs, incorporated herein by reference. These defective parts
failed in flight, causing the death of Danie! A. Snider, Defendant Continental is strictly liable for
the damages caused by the failure of these engine parts. Continental is also guilty of negligence,
gross negligence, and recklessness because Continental and its predecessors in interest, TDY,
Allegheny, and TTI became aware of problems with the manufacturing process for the TSIO 520
series of engines and parts thereof, including but not limited to those problems described in

paragraph 26 and its subparagraphs, Continental and its predecessors in interest, TDY,

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Allegheny, and TTI, nevertheless continued to represent to regulatory authorities and to the
public that the TSIO-520-H engines and parts thereof were suitable and reliable. Continental
adopted and perpetuated this pattern of misrepresentation, Upon information and belief, some or
all of the TCM parts (hydraulic valve lifter assemblies, connecting rod assemblies, connecting
’

rod bolts and nuts, cylinder assemblies, exhaust valves, exhaust valve guides, crankshafts,
bearings, and pistons), which were installed on the TSIO-520-H, engine serial number 198870-
73H, between 2004 and the date of the accident, were manufactured, promoted, marketed, and
sold at a time when TDY, Allegheny, and TTI were aware that manufacturing process problems
were causing such parts to be defective and unreasonably unsafe tn condition, and Continental
became aware of this upon its formation as a corporation in 2001.

38. As aresult of Continental's breach of warranty, strict liability, negligence,
gross negligence, and recklessness, Elizabeth Snider and Lee Snider have suffered anguish and
emotional distress, loss of consortium, funeral expenses, the costs of administering Daniel A.
Snider’s Estate, and the loss of household services provided by Daniel A. Snider. Elizabeth
Snider and Lee Snider are entitled to recover damages Pursuant to 42 Pa. Cons. Stat. § 8301 from
Continental for their anguish and emotional distress, loss of consortium, funeral expenses, the
costs of administering Daniel A. Snider’s Estate and the loss of household services provided by
Daniel A. Snider.

39, Asa result of Continental’s negligence, gross negligence, recklessness,
strict liability, and breach of warranty, Daniel A. Snider experienced tremendous pain and
suffering, emotional distress, and loss of future income and earning capacity. Pursuant to 42 Pa.

Cons. Stat. § 8302 and 20 Pa. Cons, Stat. § 3373, the Estate of Daniel A. Snider is entitled to

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recover damages from TTI for Daniel A. Snider’s lost future income and earning capacity, pain

and suffering, emotional distress, and punitive damages.

E. TECHNIFY

40. Defendant Technify Motors (USA), Inc. is a real party and successor in
interest to defendants TDY, Allegheny, TTI, and Continental. (“Technify’s predecessors”) Upon
information and belief, Technify’s predecessors engaged in a joint venture during the period
from 1969 through 2011 to manufacture, maintain the certification of, promote, market, sell,
provide product support for, and service aircraft engines and parts thereof, including model
TSIO-520-H engines. Upon information and belief, through this joint venture, Technify’s
predecessors manufactured, promoted, marketed, and sold engine parts, including, but not
limited to, hydraulic valve lifter assemblies, connecting rod assemblies, connecting rod bolts and
nuts, cylinder assemblies, exhaust valves, exhaust valve guides, crankshafts, bearings, and
pistons, which were installed on aircraft N30266’s TSIO-520-H, engine serial number 198870-
73H, between 2004 and the date of the accident. Through this joint venture, Technify’s
predecessors warranted that engine serial number 198870-73H, and the parts thereof
manufactured by them and installed in aircraft N30266’s TSIO-520-H engine between 2004 and
the date of the accident, were free of material defects, fit for use, and safe for use in aircraft.
Technify’s predecessors breached this warranty because some or all of the aforementioned
engine parts were manufactured, promoted, marketed and sold by these defendants in defective
and unreasonably unsafe condition, as set forth in paragraph 26 and its subparagraphs,
incorporated herein by reference. These defective parts failed in flight, causing the death of
Daniel A. Snider. Technify and its predecessors are strictly liable for the damages caused by the
failure of these engine parts. Techify’s predecessors are also guilty of negligence, gross

negligence, and recklessness because Technify and its predecessors became aware of problems

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with the manufacturing process for the TSIO 520 series of engines and parts thereof, including
but not limited to those problems described in paragraph 26 and its subparagraphs. Technify’s
predecessors nevertheless continued to represent to regulatory authorities and to the public that
TSIO-520-H engines and parts thereof were suitable and reliable. Upon information and belief,
some or all of the TCM parts (hydraulic valve lifter assemblies, connecting rod assemblies,
connecting rod bolts and nuts, cylinder assemblies, exhaust valves, exhaust valve guides,
crankshafts, bearings, and pistons), which were installed in aircraft N30266’s TSIO-520-H
engine, serial number 198870-73H, between 2004 and the date of the accident, were
manufactured, promoted, marketed, and sold at a time when Technify’s predecessors were aware
that manufacturing process problems were causing such parts to be defective and unreasonably
unsafe in condition.

41. As a result of the breach of warranty, strict liability, negligence, gross
negligence, and recklessness of Technify’s predecessors, Elizabeth Snider and Lee Snider have
suffered anguish and emotional distress, loss of consortium, fimeral expenses, the costs of
administering Daniel A. Snider’s Estate, and the loss of household services provided by Daniel
A. Snider. Elizabeth Snider and Lee Snider are entitled to recover damages Pursuant to 42 Pa,
Cons. Stat. § 8301 from Technify for their ariguish and emotional distress, loss of consortium,
funeral expenses, the costs of administering Daniel A. Snider’s Estate, and the loss of household
services provided by Daniel A. Snider.

42. As a result of the negligence, gross negligence, recklessness, strict
liability, and breach of warranty by Technify’s predecessors, Daniel A. Snider experienced
tremendous pain and suffering, emotional distress, and loss of future income and earning

capacity. Pursuant to 42 Pa. Cons. Stat. § 8302 and 20 Pa. Cons. Stat. § 3373, the Estate of

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Daniel A. Snider is entitled to recover damages from Technify for Daniel A. Snider's lost future
income and earning capacity, pain and suffering experienced by Daniel A. Snider, emotional
distress experienced by Daniel A. Snider, and punitive damages.

WHEREFORE, Plaintiffs respectfully request that they be awarded the damages
prayed for in the preceding paragraphs. Plaintiffs request a trial by jury.

Respectfully submitted,

/s/ John R. Merinar, Jr,
John R. Merinar, Jr. (PA ID# 204675)

STEPTOE & JOHNSON PLLC 400 White Oaks Boulevard
Of Counsel Bridgeport, WV 26330-4500
(304) 933-8135

Attorney for Plaintiffs Elizabeth C. Snider, Individuaily and

as Executrix of the Estate of Daniel A. Snider, and Lee W.
Snider, a minor, by his Mother, Elizabeth C. Snider

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EXHIBIT 2
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PAGE OF PAGES

 

ORDER FOR SUPPLIES OR SERVIGES

 

 

 

 

 

 

 

 

 

 

 

IMPORTANT: Mark all packages and papers with contract and/or ardar numbers. A | 26

1. DATEQFORDER | 2, CONTRACT NO. {van ‘

04/08/2008 Ae~3684- C68" 002 a, NAME OF CONSIGNEE

3. ORDER ND, 4, REQUISITIONREFERENCE NO,

AG-3604-D-08-0008 149106 USDA FOREST SERVICE

§, ISSUING OFFICE (Adarass corraspandence te) 8, STREET ADORESS

USDA FOREST SERVICE NORTHERN RESEARCH STATION

NORTHERN RESEARCH STAPION 180 CANFIELD STREET

ll CAMPUS BLVD SUITE 220

NEWTOWN SQUARE PA 19073-4100
«CITY 4. STATE | a ZIP CODE
MORGANTOWN Wy 26505-3101.
f. SHIP VIA

7. 7Q:

 

a. NAME OF CONTRACTOR

STERLING AIRWAYS INC

 

4. TYPE OF ORDER

 

b, COMPANY NAME

 

& STREET ADDRESS

1100 AIRPORT RD JAMES CANEERN

161019694 A

 

CITY
HORNELL

8. STATE | ¢. ZIP CORE
NY 114843

 

 

(Ja. purchase
REFERENCE YOUR:

 

 

Plaasa furmish the following on ths terms
and conditions specifiad en both sides of
this order and on ta altached sheng, if
any, including delivery as fndicatad, ‘

 

f] » veLvery

Excapt for billing instructions on tha
faverse, this doiivary order ia
subject lo Insteuctions contained on
this side only of this form and Is
issued subjedt io tha lems and
conditions af the above-numbered
contract

 

9, ACCOUNTING AND APPROPRIATION DATA,
BOC 2541 2423SPFH5308

 

10, REQUISITIONING OFFICE,
USDA FOREST SERVICE

 

(I. BUSINESS CLASSIFICATION Cheek appropaata box(as))

(Do service.

 

12, 7.0.8, POINT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2, SMALL (1) ». OTHER THAN SMALL ["] ¢. DISADVANTAGED
RISABLEO
(Cc women-ownen (a. Huazene ((] +. EMERGING SMALL VETERAN.
BUSINESS OWNED
12. PLARE OF 14. GOVERNMENT WO. =) on. TK, ORUURR TO FOB, POINT 16. DISCOUNT TERMS
ON OR BEFORE (Dala)
a. INSPECTION . b. ACCEPTANCE 04/30/200
Destination Destination NET/30
17, SCHEOULE (Sea reverse for Rejections)
QUANTITY’ UNIT , QUANTITY -
ITEM NO, SUPPLIES OR SERVICES ORDERED UNIT PRICE AMOUNT ACCEPTED
fa] (b} i] (a) {a} i (ot
~ (Contract Services for Aircraft and Pilot '
for Government Aerial Surveying
Continued ...
18. SHIPPING POINT 19, GROSS SHIPPING WEIGHT 20. INVOICE NO. ; re
(Cont.
' ages)
24, MAIL INVOICE TO: pases)
a, NAME USDA FOREST SERVICE $25,500.00 < .
SEE ILUNG ‘ .
insTRucnavs |b, STREET ADORESS NORTHERN RESEARCH STATION .
ONREVERSE | for P.O. Box) 14 CAMPUS BLVD SUITE 220 170)
GRAND
TOTAL
con a. STATE’ | 6. ZIP CODE $25,500.00

 

NEWTOWN SQUARE

PA 19073-4100

 

 

 

 

22, UNITED STATES OF AMERICA

AUTHORIZED FOR LOCAL REPRODUCTION

PREVIOUS EDITION NOT USABLE

Vendor

28, NAME (Typed)

 

PATRICIA PIERCE
TITLE: CONTRACTING/ORDERING OFFICER

* OPTIONAL FORM 347 (Rav. c2008)
Prascribad ty GSAFAR 44 CFA 53.2146}
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 54 of 97

 

 

 

 

 

 

 

 

 

 

ORDER FOR SUPPLIES OR SERVICES PAGE OF PAGES
SCHEDULE - CONTINUATION 2 26
IMPORTANT! Mark 2ll packages and papers with contact and/or order numbers. A
DATE OF OROER /CONTRACT NO, ORDER NO.
04/08/2008 |AG~3604-C-08~-0002 AG-3604-D+08-0008
ITEM NO. SUPPLIES/SERVICES QUANTITY UNIT UNIT AMOUNT QUANTITY
ORDERED PRICE ACCEPTEO
tA} {B) it) iO} (Ee iF) @ .
Admin Office: ,
USDA FOREST SERVICE
WORTHERN RESEARCH STATION
11 CAMPUS BLVD SUITE 220
NEWTOWN SQUARE PA 15073~4100
Period of Performance: 03/28/2008 to
03/27/2069
001 Task Order 01 is for Base Year Services 25500] DO 1.00 25,500.00

(March, 2008 - March, 2009}.
hours @ $425 = $25,506

Estimating 40-

0101 Hourly Rate for providing airplane and
pilot @ $425.00

0102 Ferry Time and hourly rate to
Morgantown, WV airport (1.4 hrs @ $425)
0103 Ferry Time and hourly rate to Elkins,
WY Airport (1.7 hrs @ $425)

0104 Ferry Time and hourly rate to
Frederick, MD Airport (1,3 hrs @ $425}

0105 Perry Time and heuxly rate to Clarion,
PA Airport (.8 hrs @ $425)

In accordance with attached contract
AG-3604-C-08-0002

Product/Service Code: R499
Product/Service Description: OTHER
PROFESSIONAL SERVICES

The total amount of award: $25,500.00. The
obligation for this award is shown in box
T7(i). ,

 

 

 

 

 

 

 

TOTAL CARRIED FORWARD TO 181 PAGE (ITEM 17{H)}

NSN 7340-01-1 52-8682

SOSH

Vendor

‘OPTIONAL FORM 2408 Rev, 995}
Prescitad by OA,
FAA (48 CFR) SLAM}
Case 2:13-cv-02949-JCJ Document

1 Filed 05/29/13 Page 55 of 97

 

AWARDICONTRACT |

1, THIS CONTRACT IS A RATEO ORDER
UNDER DPAS (15 CFR 3991

PAGE OF PAGES

> [PATI
|

 

2, CONTRACT (Proc. Mast, Ident.) NO,
AG-3604-C-08~0002

3. EFFECTIVE DATE 4. REQUISITION/PURCHASE REQUESTIPROJECT NO,

 

 

 

5. ISSUED BY

cone 3604

USDA FOREST SERVICE
NORTHERN RESEARCH STATION
1) CAMPUS BLVD SUITE 220
NEWTOWN SQUARE PA 19073-4100

6, ADMINISTERED BY (i ather than Ham &)

See Block 20C/1149106
CODE | 3604

USDA FOREST SERVICE

NORTHERN RESEARCH STATION

Li CAMPUS BLVD SUITE 220
NEWTOWN SQUARE PA 19073-4100

 

 

7, NAMB AND ADDRESS OF CONTRACTOR (No., Streei, City, Country. State and ZIP Code)

STERLING AIRWAYS INC
1100 AIRPORT RD JAMES CANEEN

161019694 A
HORNELL NY 14843 |

 

 

8. DELIVERY
(] FOB onIGIN OTHER {See blow}

@, DISCOUNT FOR PROMPT PAYMENT

NET /30

 

 

 

 

 

10, SUBMIT INVOICES ITEM
(4 coples unless othenvise specified) 7
TO THE ADDRESS SHOWN IN

CODE 161019694 FACILITY CODE

11, SHIP TOJMARK FOR CODE (2. PAYMENT WILL BE MADE BY CODER 3604

 

 

USBA FOREST SERVICE

NEASTERN AREA STATEPRIVATE FOREST
180 CANFIELD STREET

MORGANTOWN, PA 26505~+3101

USDA FOREST SERVICE

NORTHERN RESEARCH STATION
ll CAMPUS BLVD SUITE 220
NEWTOWN SQUARE PA 19073-4100

 

1a. AUTHORITY FOR USING OTHER THAN FULL AND OPEN COMPETITION:

 

(Cj 10 u.S.c. 2204 (¢ ( ] (741 was. 283 (a1 f ]

14. AGCOUNTING AND APPROPRIATION DATA

 

15A, ITEM NO, 158, SUPFLIESISERVICES. .

150. 45E. UNIT PRICE 15F, AMOUNT. ~.

UNIT

“450, *
QUANTITY

 

Continued

 

 

 

 

 

 

SEC, | DESCRIPTION
PART! + THE SCHEOULE

SUPPLIES OR SERVICES

PACKAGING AND
AND ACCEPTANCE

o

v7. ia CONTRACTOR'S NEGOTIATED AGREEMENT (Cantracior is required Io sign this
document and ratum copies lo issuing office.) Contractor agnaes to
Jumish and daliver all jlems or perform all the servicas set forih or olharwise idaniified
above and on any continuation sheats for the consideration slated heraln, The rights and
obligations of tha parties {o thts contract shail ba subject to and govemed by tha fatown
documents: (a) this awardicontract, (hb) Ihe solicitation, if any, and (0) such pravisans,
fepraconiations, coniications, ang spacificatons, 05 oro-atached or incarperaled by

taferanca herain, Attachments ere listed héerela.)

15G. TOTAL AMOUNT OF CONTRACT >| 30,00

DESCRIPTION
PART Ite GONTRAGT CLAUSES

PART Ill - UST OF EXHIBITS AND OTHER ATTAGH,
J
PART IV - REPRESENTA
K REPRESENTATIONS, CERTIFICATIONS AND
OTHER STATEMENTS OF OFFERORS
AND 10 OFFERORS

AWARD

L
M4

   

EONTRACTING OFFICER WILL COMPLATS ITEM 17 OR 18 AS APPLICABLE

1a. &AWARD (Goatrsctor?s no! required ta sige tnis dacument) ‘Yfaur offer on
Solldlatian Numb &G-3604-S-G8-0003 .

including the additions or changes made oy you whict additians or changas are set forth
Jn full above, Is horeby actapted as {9 the llamsdistad above sad on any condition
sheals, This eward consummutes the contract which consists of the following
documants: fa) the Govemment's sclicitation and your oftar, and (b) this sreardteantec,
No further contractual document is necassary.

 

19A, NAME AND TITLE OF SIGNER {Type or print}

2A, NAME OF CONTRAOTING OFFIGER
PATRICIA PIERCE

 

19B. NAME OF CONTRACTOR 196, DATE SIGNED

BY

 

208, UNITED STATES OF AMERICA 2OC. DATE SIGNED

 

 

 

 

 

(Signature of person auihorzed to sign)

NSN 7540-01-152-3009
PAGVIQUS EDITION iS UNUSABLE

2
0 Of ilies’ Jw 03/28/2008
{Sionafure of the Contracting Officer!
STANGARG FORM 26 (Rev. 4-65)
Seller's Copy Proserjbad by G&A

PAS (48 CA) 93.214{0)
‘

Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 56 of 97

 

 

 

 

 

 

 

 

 

 

SOLICITATION, OFFER AND AWARD THIS CONTRACT (S 4 RATED ORDE RATING PAGE OF
__ UNDER DPAS (15 CFR 700) . if | 32 Paces
2. CONTRACT NUMBER F SOLICITATION NUMBER | 4, TYPE OF SOLICITATION 6. DATE ISSUED | 6. REQUISITION FURCHABE
. AG-2604-8-08-0003 |’ Negormres mer) 02/15/2008 NUMBER

716SUE0 BY CODE | §, ADORESS OFFER TO (ifothar than Hear 7)

USDA Forest Servica USDA Forest Service

11 CAMPUS BLYD, STE 200 11 CAMPUS BLVD, STE 200

NEWTOWN SQUARE, PA 19075 NEWTOWN SQUARE, PA 19073
NOTE. In sealed bid sollotistions ‘offer and “olleror mean “bid” and “bidder. i

SOLICITATION

 

 

9, Sealed offers in orlgtnet and 1 copips for furnishing the supplies or services In ihe Schedule will ba tecelyed at the placa specified in vita 3,
‘ ar if

kandcarried, In the depository located In CUBICLE 2087 unt] = 2:00PM ‘local time — 03/18/2008
‘Haur) (Data)

(i
CAUTION - LATE Submissions, Modifications, snd Withdrawals: See Seotion L, Provision No, §2.214-7 of 52.2181, All offers ate subject to all terns and
conditions conteined in this solicitation.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

10, FOR - TELEPHONE NO, (NO COLLECT
INFORMATION — * NAME GALL S)Area Code/NumbevExtension — [* EMAIL ADDRESS
CALL: PATRICIA PIERCE 610-567-4248 pierce@ifs fad.us
11, TASLE OF CONTENTS
(Xx) ESEC, | DESCRIPTION [PAGE (X}_ [SEc. ] DESCRIPTION | PAGE(&)
PART | - THE SCHEDULE BART [| - CONTRACT CLAUSES
x A_| SOLIGITATIONIGONTRACT FORM H=2 X__]_1 [CONTRACT CLAUSES 4-25
x B | SUPPLIES OR SERVICES AND PRIGES/GOSTS Bad PART Ill - LIST OF DOCUMENTS, EXHIBITS AND OTHER ATTACH,
x © | DESCRIPTIONSPECS WORK/STATEMENT HB x | 4 | LIST OF ATTACHMENTS | 26
D | PACKAGING AND MARKING 9 PART iV- REPRESENTATIONS AND INSTRUGTIONS

x E | INSPECTION AND ACCEPTANCE 10 K | REPRESENTATIVES, CERTIFICATIONS AND

> : x 27-
x F | DELIVERIES OR PERFORMANCE AL OTHER STATEMENTS. OF OFFERORS 28
x G | CONTRACT ADMINISTRATION DATA 12 x L_[INSTRS., CONDS., AND-NOTICES TO OFFERORS 29-30
x 5 | SPECIAL CONTRACT REQUIREMENTS aS x M | EVALUATION FACTORS FOR AWARD 31-32

 

 

 

 

 

 

 

 

___OFFER (must-tie fully complated by affenars”- sieoe es
NOTE: ifemn 12 doesnot apply if the solicitation includes the provisions ai §2.244-48, Minimum Bid Aacalanee Baral.
12, In compliance with the above, the undersigned agrees, if thls offer Is aceapted within a6 caencer daya (60 calendar days aniess 6
perlod! is inserfed by the offeror} fram the date for recalt af offers specified abave, to flnish any or alliteme upen which prices are offered of the price sat

opporite each fc ent, delivered at the dest smated palne(s), within the rlma mec! fled} ni the schedule.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13, DISCOUNT FOR PROMPT PAYME 10 CALENDAR DAYS | 20 GALENDAR DAYS 30 CALENDAR DAYS CALENDAR BAYS
(See Section |, Clause No. §2-292-8) % % cs. UH %
14, ACKNOWLEDGMENT OF AMENOMENTS AMENDMENT NO. DATE AMENDMENT NO, BATE
fe offeror acknowledges recelpl.af arend, . : : . . :
. shen ote SQLIGITATION fa? aferors and a! 3/97/ @B
related documents furmborad ond antag: \
15AL ee bach ag ae =) PACIIFY | 6. NAME ANO TITLE OF PERSON AUTHORIZED TO SIGN
NAME AND or bechag ORFER (Tye or Prat)
ADDRESS 500 tt
OF OFFEROR Wobiiue a ¢ lie 3 SAMS CAMBER, PREGIDEN
© 6G, CHECK IF REMITTANGE ADDRESS " 18, OFFER DATE
188, TELEPHONE NO, finciude area iS DIFFERENT FROM ABOVE -ENTER | 17. SIGNATURE '
oe aoe as = 2.07 fo ("cy SUCH ADDRESS IN SCHEDULE, CP , A ahi7f0P
AWARD (To be completed by Goverment).
15. ACCEFTED AS T@ ITEMS NUMBERED 20, AMGUNT 21. AGGOUNTING AND APPROPRIANON ”
: —O “ . . a
22, AUTHORITY FOR USING OTHER THAN FULL AND OPEN , , ;
COMPETITION 2 SUBMIT INVOICES TO ADDRESS SHOWN IN" [reo
| r 10 USC. 7304 (C > LJ 44 u8.c. 25afe) ) (4 copies uniags ethorafse specified 7
24, ADMINISTERED BY (if other than item 7) CODE | 25. PAYMENT WILL BE MADE BY _ CODE

 

 

“26. NAME OF GONTRACTING OFFICER (Type or print) , is ATES OEARERICA ERICA 36, AWARD DATE

 

 

Pa TR Cla PECL € Biure of God LN Officer) y. 3/28 fos

IMPORTANT - Award will ba made on this Fon, or on Standard Form 26, or by other withorisedt off official written notice,
AUTHORIZED FOR LOCAL REPRODUCTION fy j j STANDARD FORM 33 (REV9-07)
te 7 : if Ht Prescribed by GSA - FAR (48 GFR) 5a.214(¢)

SUBMTFANG A QUOTE

64 FOVel ONT SAVMATY ONT TSSLS ZTBESEES TS ab et

 

 

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Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 57 of 97

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AMENDMENT OF SOLICETATION/MODIFICATION OF CONTRACT | ip 44
“FT AMENOMENTAUODIFIGATION NO. Turecvecke | 4 Pa. NG. “8. PROJECT NO. (app ae "
of osfo7/2008 140108 ; , .
@, ISSUED BY cour | " Tr ADLINIETERED BY father than em a) OE
USDA Forist Service USDA Forest Servica
ATTN: PATRICIA FIERCE ATTN: PATRICIA PLIEROD
11 GAMPUG BLYD., STE 200 11 CAMPUS BLVD. STE 206
NEWTOWN SQUARE, PA 12073 NEWTOWN SQUARE, PA 19073
"ETAL AND AUDANES OF CONTEACTON (a, reel, nourdy, Stale, bad 2 Code) TR 0A. AMESOMERY OF EOLICITATION NOD. .
iP LLLP AD Tits AG-3604-9-08-0008 __.
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O2/4 8/2008
fitine 7 NV (6 GAS A FICANION 6 Fa
Cl , (SHR TEM f
COOn TAGLITY GORE
71 THIS TEM ONLY APPLIES TO AMENDMENTS OF SOLICITATIONS

 

£2) Tha above qumbored sollottation in sntended na sat focth In ttn 44, The hour end cate specified for receipt of Offers [_] is extanded,
Is pot exteneon,

Offers must acknowledge recelp! of this amundment prlor io the hour and deta specitied In the solickation of as amended, by one of the following
methods,

.@ By completing Items B and 1§, and retuming
fre offer duamiited,

or (6) Gy separate: latter or fe whitch indudus = retarenca 3 the aolisitaton and amendment numbers, PAILURE OF YOUR
ACKNOWLEDIMENT TO BE RECHIVED AT THE PLACE DESIGNATED FOR THE RECBIPT OF OPFERS PRIOR TO THE HOUR AND DATE ,
SPECIFIED MAY RESULT IN REJECTION OF YOUR OFFER. if by virtua of this amendment you desire to change an offer aireaty submitted, duch
change mey bo meade by teiegran of Iscer, provided each felowidn oF betidr mates roforonce te.ine soliciedon end this amendment, dnd la teootvad

pio! ta the opening hour and date specified.

coples of the amaddmant (5) By ecknowiedging cealnt of this amendment on each copy of

 

 

 

 
    

“TE ACSOORIT IS ANU APPROPRIATION GATA (i required)
Loe "73. THIS TEM APPLIES ONLY TO MOBIFIGATIONS OF CONTRACTEORUERS,
-Tt MOOIMNES THE GONTRACT/ORDER NG. 46 DESCRIBED erm enn ee nee moe vibe pee
“te T ik Sane MADEIN
5 ;

a Sau
HE GONTRAGT ORDER NG, IN Tam TOA.

 

 

@. THE ABOVE NUMBERED CONTRACT/ORDER 18 MODIFIED TO REFLECT THE, ADMINISTRATIVE: CHANGES (such px changes in
poyitg offle, ayproanietied dats, eto) SET FORTH IN ITEM 14, PURSUANT TO THE AUTHORITY OF FAR 42,705(0). :
er THIS SUPPCEMENTAL AGREEMENT IS ENTERED INTO PURSUANT TO AUTHORITY OFF 2” oo

 

 

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G. UTHER Speciy ype  madicetion and auc)

 

 

i. IMPORYANT: Contrecter (7) ie not, Bel te required to sign thik document and retum ‘1 doples to the Issuing office.
“Ta BERCHIPTION OF AMENDNEN TRODIPICATION (Ornsentane by UU raclon heacinge, Incluitig SoUcHatanarn acl #Gac! motion vANTe foaRote
. MORGANTOWN, WV AIRGRAPT AND PILOT SERVICES FROJEGT |

The ebova: cited REP le hereby amanded to make the folicwing changed; Contractors aro to ramove and replnon attacted
pages, Contractor's are asked fo provide Forty Time and hourly rates fram home base-te each of thy four alrports for bess
yaar and daoh optlon year, Section C.a (d], haw been changed Contractors regponsibility to the Govermment’s ;

_reaponsibiity. FAR Clause 52.216-2, ECONOMIC PRIGE AQJUSTMENT STANDARD BUPTLIER {JAN 1927) te being added *
in full taxt . Option Parioda 4 & & are baling removed. All reference te # 5 year aoilaitation Is changed to 3 year eeficltatlon.

 

Fropossle ara due on March 18, 2008 at 2:00pm. Proposals oun be faxed to Contracting Office, Paticta Plarca mt
810s057-4224 of maaiied to the above Newtown Square, PA address, .

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Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 58 of 97

4
SERVICE REP . SOL NO: AG-3604-S-08-0003
UNIT: Morgantown, WV
PROJ NAME: Aircraft and Pilot Services

PAGE 2 of 32
TABLE OF CONTENTS
" PAGES
SECTION DESCRIPTION LONG PKG SHORT PKG TO BE RETURNED
PART I - THE SCHEDULE
A . SF-33, Solicitation, Offer and Award/Table of Contents 1-2 1
B Schedule of Items 3-4 3-4
C Deseription/Specifications/SOW 5-8
E Inspection and Acceptance 10
F Deliveries or Performance ° il
G Contract Administration Data 12 12
H Special Contract Requirements 13
PART II - CONTRACT CLAUSES
I Contract Clauses 14.25

PART II - LIST OF DOCUMENTS, EXHIBITS, & OTHER ATTACHMENTS

J List of Drawings and Attachments 26
Attachment I, Wage Determination 4 Pages
en Or Résponstbitt es " “f

Sample and Guidance on Submitting Proper Invoice 3 Pages

Electronic Payment (All contractors need to register in www.ccr.gov)

    

     
  

    

L Instructions,
M Evaluation Factors for Award

nditions, & Notices to Offerors

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a3/e7/2008 13:03" 6lBss7azzq , PAGE Be

Amendment 01 SERVICE RFP SOL NO: AG3604-8.08-0003 .
, UNIT: Morgaciteom, WV;
PROJ NAME: Alroraft and Pilot Services: .

PAGE 3 of 32:

PART I--THE SCHEDULE

SECTION B~SUPPLIES OR SERVICES AND PRICHS/COSTS
SCHEDULE OF ITEMS;

B.1 Degcription of Requirement

The contractor shall provide appropriate and Forest Service certified and approved aircraft and pilot as described
in Beotion C in arder for the Govermment to conduct aerial surveys. Contractor shall elsd provide all necessary
management, supervision, manpower, labor, material, supplies, equipment, and transportation and.shall plan,
schedule, coordinate and assure effective performance of all services described in Section C. The Contractor will
meet Forest Service employees at one of the four listed airports:
MORGANTOWN, WV AIRPORT
OR
ELKINS, WV AIRPORT
OR

3

FREDERICK, MD AIRPORT
OR
- oy, _ CLARION, P4 AIRPORT pes
The Term of this Contract will be a base 1-year period with 4, ]-year option periods, We expect. this contract to
commends late-March, 2008. Lo .

4‘

1} Contractor shall provide name of Aircraft for Aerial Surveying CO BagM. A ZO

Bd OFFER FOR AIRCRAKT AND PILOT .

For base year ¢ad each of the four option years, quote an hourly rate for providing an aircraft and pilot for the |
government to conduct acrial-surveying ag described in Section C. The Govemmentt's minimum requirement cach year
the contract is extended under this IDIQ contract is 15,000. Se : "

0LO0 HASE KEAR (March, 2006 through March, 2009)
0101 Hourly Rate for providing dirplanc & pilot a ~ a
for Aerial Surveying conducted by Government $ Hf. 2S . 60h = 5. é Sy OC __.
/ . FERRY TIME HOURLY RATE.
0102 Ferry Tine and hourly rate ta Morgartown, WY Airport J . Hf aM §.: Af Lf « $_. s A

0103 Farry Tire and hourly rate to Elkins, WV Alport: me KX §. HEE. §, Pea ST?

0104 Ferry Tir e and hourly tate to Frederiak, MD Airport: I. 3 x43 HABE u¥ SIF SO
r ey X$ HES, ¢ 342. CO)

 

8108 Ferry Time and hourly rate to Clarion, PA Alrport:

hh

~ 9200 Option Your 1 (March, 2009 through March, 2010)

0201 Hourly jRate for providing airplane and pilot
' for Aerial Survoying conducted by Government ..........

 

PB FOV ONI SAVMATY BNI WSLS GTGESECITE Bh:@l ‘Begz/et/ea
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AshaadntO) SERVICE RFP

0202 Ferry Tima and hourly rate to Morgentawn, WV Alrport,
0203 Ferry The and hourly rate to Elkina, WV Alport:
0204 Ferry Tims and hourly rate to Fradarick, Mn Airport:

0208 Ferry Time and hourly rate to Clarian, PA Airport:

0300 Option Year 2 (March, 2010 March, 2011)

0301 Hourly Kate for providing airplane and pilot

for Aerie] Surveying conducted by Government .....

0302 Farry Tims and hourly cate to Morgantown, WI Airport
6303 Ferry Time and hourly rate to &ilkins, WV Alrport:
0304 Ferry Tina and hourly rate to Frederick, MD Airport:

0308 Ferry Tine and hourly rate ta Clarion, PA Airport:

Bj QUOTERS PLEASE NOTE:

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PaGE 05

+ SOL NO: AG-3604-5-08-0003,

_ UNIT: Morgamown, WV:
' PRO! NAME: Alrcraft and Pilot Services’ -
a PAGE 4.0f32)° -

. FERRY Ti JRLY-RATE:
L 4 ys YO as. GIO
Lo 7 xs 4 ag Go
{3 xs FO _«s SES
1B xt LBs 360

RATE __ QUANTITY AMOUNT

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§ 47ST x bots $8, 402

ERRY TIME, HOURLY
Lt xg L/S 28 CLS.
LT Xk AIT es 0 SP

bh xs hI GIP 8?
Bo xs ABs DBO

1
!
’

A. Typical aitorafi nse in « given year is estimated at approximately 60 houra of aerial surveying work;

B. Any per ditm rate owed the contractor will be in accordance with the Federal Travel Regulations. «

C. No standby charges as long as the Government averages at least 4 hours of flight time per day in any onc
week that the Government has control of aircraft. B,g, Monday 3 hours of flight time and Tuesday 5 hours of
flight time. Averaged 4 hours for that week, no standby charges. - . va a

B, Befors preparing your offer, carefully review Seotions K, L, aad M. ,

C. One contre.ct will be awarded in accordance with the evaluation factors in Section L and M.

B4 PERIOD OF THE CONTRACT

’ ‘This contract is for Base Year (March, 2008 thru March, 2009) plus four option petiods for possible extensions.
This is an unilateral sight of the Government to extend. Bach time an option to extend dg exercised; it will be fora
petiod of one additional period. Contractor will be notified in accordanes with appropriate clause contataed in

Sectian |. ; "
B.S TYPE OF CONTRACT

"the Government contemplates awacd of an indefinite delivery, lndefinite quantity {IDIQ) contract resulting from

_this solicitation:

During the period speoified in FAR clause $2.216-18, ORDERING, the Government shall place orders totaling
minimum of $15,000, but not in excess of $100,000 over ‘the total life of the contract.” . : .

SG FAOVd ONI SAVMAIY DNITHSLS

ZIBESEESTA  BhIQT sagz/ET/En
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 61 of 97

endings Cd SERVICE REP i SOL NO: AG-3604-S-08-0003
UNIT: Morgantown, WV

PROJ NAME: Aircraft and Pilot Services

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B.7 FAR 52.217-5 Evaluation of Options (JUL 1990) |

Except when it is determined in accordance with FAR 17,206(b) not to be in the Government’s best interest, the
Government will evaluate offers for award purposes by adding the total price for all options'to the total price for the

basic requirement, Evaluation of options wiil not obligate the Government to exercise the option(s).
B.8_AGAR 452.216-72 Evaluation Quantities — Indefinite Delivery Contract (FEB 1988)

To evaluate offers for award purposes, the Government will apply the offeror’s proposed fixed-prices/rates to the
estimated quantities included in the solicitation, and will add other direct costs if applicable.

B.9 _52.216-2 Economic Price Adjustment—Standard Supplies.
ECONOMIC PRICE ADJUSTMENT—STANDARD SUPPLIES (JAN 1997)

(a) The Contractor warrants that the unit price stated in the Schedule far ALL ITEMS Is not in excess of the Contractar's
applicable established price in effect on the contract date for like quantities of the same item. The term “unit price” exctudes any
part of the price directly resutting from requirements for preservation, packaging, or packing beyond standard commercial practice.
The term “established price” means a price that

(1) Is an established catalog or market price for a commercial item sold in substantial quantities to the general public; and
(2) ls the net price after applying any standard trade discounts offered by the Contractor.

(b) The Contractor shall promptly notify the Contracting Officer of the amount and effective date of each decrease tn any
applicable established price, Each corresponding contract unit price shall be decreased by the samé percentage that tha
established price is decreased. The decrease shal! apply to those items delivered on and after the effective date of the decrease
in the Contractor's established price, and this contract shail ba modified accordingly. .

__ (c) ifthe Contractor's applicable established price is increased after the contract date, the corresponding contract unit price
shall be Increased, upon the Contractor's written request to the Contracting Officer, by the same percentage that the established
price is increased, and the contract shall be modified accordingly, subject to the following limitations:

(1) The aggregate of the Increases in any contract unit price under this clause shall not exceed 10 percent of the original

contract unit price,

(2) The increased contract unit price shall be effactive—

(i) On the effective date-of the increase in the applicable established price if the Contracting Officer receives the
Contractor's written request within 10 days thereafter; or
(il) If the written request is received later, on thé date the Contracting Officer receives the request.

(3) The increased contract unit price shall not apply to quantities scheduled under the contract for delivery before the
effective date of the increased contract unit price, uniess failure to deliver before that date results from causes beyond the control
and without the fault or negligence of the Contractor, within the meaning of the Default clause.

(4) No modification increasing a contract unit price shall be executed under this paragraph (c) until the Contracting Officer
verifies the increase in the applicable established price. ,
carr te ‘(Oy Withir 3¢-days-aiter receipt‘ the Contractor's written- request, the Contracting Officermay canvetrwithout fiability ta+ +
either party, any undelivered partion of the contract items affected by the requested increase.

(d) During the time allowed for the cancellation provided for in paragraph (c)(5) of this clause, and thereafter if there is no
cancellation, the Coniractor shail continue deliveries according to-the contract delivery schedule, and the Government shall pay
for such deliveries at the contract unit price, increased to the extent provided by paragraph (c) of this clause.

(End of clause}

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SECTION C--DESCRIPTION/SPECIFICATIONS/STATEMENT OF WORK

C.1_ MINIMUM REQUIREMENTS:

¢ ‘Three (3) passenger seats not including pilot, but including copilot seat in an aircraft, normally single-pilot

operated,

High wing, single engine.

Cabin window view must not be limited by external fuel pods or other obstructions (wing struts not a factor).

Equipped for single pilot day/night VFR passenger operations per the requirements of 14 CFR 135.

Aircraft shall comply with all FAR Part 135 requirements.

Aircraft shall be inspected by the Regional Aviation Maintenance Program Manager before contract begins.

Pilot shall pass a regional aviation evaluation (check ride) before contract begins.

Pilot shall be required to understand and sign the Pilot Safety Briefing.

Prior to commencement of work, certificate of insurance shall be submitted to the Contracting Officer.

Minimum engine requirements for aircraft shall be 250 HP or above.

Payload of 800 pounds at 30 degrees C at 4,000 feet pressure altitude. Payload is determined by subtracting the

sum of the weight of the aircraft equipped to meet the specifications of this contract, the pilot's weight equipped

for flight, and the weight of fuel sufficient for a flight of 275 nautical miles with VFR reserves, from the
maximum certificated takeoff weight for the environmental conditions specified.

* Installation of at least two 3-pin power supply connectors on individual 10 amp circuit breakers for powering
computerized mapping equipment and portable FM radio, The 3~pin connectors and installation instructions
will be provided by the government. .

* Installation of a government-furnistied Blue Sky automated flight following (AFF).system and external
antennae, Additional AFF information follows at the end of this section. .

* External antennae for use with a portable, government-furnished VHF-FM communications radio.

* * # @# #8 4 se 8 #

Offers should assure their specific make and model aircraft is capable of meeting the above minimum
requirements by including information with their offer to demonstrate such (Evaluation Factor).

C2 TARGET REQUIREMENTS . ;

¢ One panel mounted VHF-FM aeronautical mobile transceiver (FM-1), which provides selection of either
narrowband (12.5 kHz) or wide-band (25.0 kHz) channel spacing operation on each channel, or properly wired
with a three pin connector to accept portable VHF-FM aeronautical mobile transceiver. Automobile FM
radios do not meet this requirement of a panel mounted transceiver.

« Voice activated internal intercom system capable of handling internal communication needs of pilot and three
passengers.

e Aircraft-installed automated flight following (APF) system.

C.3 Government Furnished Property: oan easegundtne en put pidine thecueee came ee, .
Where applicable, the following equipment will be supplied by the government:
© Portable VHF-FM aeronautical mobile transceiver.
« Blue Sky Automated Flight Following device
C.4 Contractor Furnished Property: —
e GPS unit for flying route and waypoint navigation.
« Portable voice activated intercom system.
« High-wing aircraft and pilot for aerial survey work.

C.5 Pilot Requirements?
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Pilots shall have logged minimum flying time as pilot-in-command as follows:

« 1,500hours Total pilot time.
1,200 hours PIC, airplanes.
200 hours Category and ciass to be flown.

*

¢ 75 hours Actual or simulated instrument flight time (including 50 hours in flight),
e 300 hours Cross-country.

e 200 hours Typical terrain and landing facilities; mountain.

* 25 hours Total time in make, model, and series of aircraft to be used.

* $3 hours Total time in make and model, preceding 30 days.

« 10 hours Total time in class, preceding 60 days.

e 100 hours Total time in class, preceding 12 months.

The Contractor shall submit an experience resume for each pilot offered for approval. Theresume shail include names
and pilot addresses of past employers, substantiation of related type and typical terrain flying and must show any and
all accidents involving aircraft.

C.6 Scope of work:

Provide for Aerial Survey Flights

Personnel from NA and state cooperators use small airplanes for forest pest surveys, forest resource surveys, and other
natural resource surveys. Most of these flights are conducted in a single engine high-winged airplane.

Aerial detection surveys, also known as aerial sketchmapping, is a remote sensing technique of observing forest change
- events from an aircraft and documenting them manually onio a map. Aerial surveys are an effective and economical
means of monitoring and mapping insect, disease and other forest disturbances.

The aviation services are required to perform aerial surveys throughout Ohio, Maryland, Pennsylvania, West Virginia,
New Jersey and Delaware. Typical aircraft use in a given year will be around 60 hours. The majority of the work will
be conducted in June and July. The aircraft may be used occasionally other paris of the year in the event an emergency
arises. The typical altitude will be 1000’ to 1560’ AGL (Above Ground Level) for all aerial survey missions.

C7 Guarantee

The following shall be paid/reimbursed under this contract:

* Hourly flight time Co penne ee ere a .
« Guarantee of an average of 4 hours of flight time per day per overnight away from vendor home base

* Per diem (FTR. — Federal Travel Regulations/ http://Awww,gsa.gov/ (domestic)

» Tie down fees, landing fees, hangar fees .
® Miscellaneous (receipt is required for purchases over $75.00).

Ferry cost will be paid by the Government from the Contractor’s home base to Bradford (PA). Awport, Clarion County
(PA) Airport, Hagerstown (MD) Airport, Fort Meade (MD) Airport or Morgantown (WY) Airport at the start of each
exclusive use period, and to the Contractor’s home base at the end of each exclusive use period, This will be a separate
line item in Section B, Schedule of Items and will be considered when awarding the contract,
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Response Time — Since aerial survey missions that relate to insect and disease damage are time sensitive, a notice of 24
hours will be given when requesting aircraft services. Successful contractor will need to certify to the government that
they will have an aircraft and pilot available at one of the above five airports within 24 hours notice. Government will
designate which airport when ordering aviation services.

C.8 Automated Flight Following

a, One Automated Flight Following (AFF) system compatible with the government’s AFF tracking network
(Webtracker) is required. Not all available AFF systems are compatible with Webtracker nor meet
Webiracker’s requirements. _ The contractor shall ensure > that the AFF system offered is compatible with
Webtracker. id ebtracker's: CUPEERE Ecompaubuity-requiremen tsireterdo: https: www att gov,

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b, The AFF system shall be powered by the aircraft’s electrical system, either portable or permanent unit
installed per the manufacturer’s installation manual, and operational in all phases of flight. AFF equipment
shall utilize as a minimum: Satellite communications, provide data to the Government’s Webtracker
software, use aircraft power via a dedicated circuit breaker for power protection, and be mounted So as to
not endanger any occupant from AFF equipment during, periods o en “placed

whereas theyshay ids

          
 
 

¢ “Sky-as po: sib B
ide ce System: pertonnance: Any AFF manufacturer required pilot display(s) or.
control(s) ‘shall be visible/selectable by the pilot(s). Remote equipment having visual indicators should be
mounted in such a manner as to allow visual indicators to be easily visible.

c, AFF communications shall be fully operational in the lower 48 states, Contractors accepting dispatches to
the State of Alaska, Southem Canada, or Western Canada must have an AFF system capable of being
tracked in these locations at all times. Not all manufacturers’ AFF equipment communication links will
operaté effectively in all geographic areas.

d. The Government will maintain a subscription service through the AFF equipment provider allowing AFF
position reporting for satellite tracking via Webtracker. The position-reporting interval shall be every two
minutes while the aircraft is in flight. The Government shall register their AFF equipment with the Boise
Help Desk providing: Complete tail number, manufacturer and serial number ofthe AFF transceiver;
aircraft make and model; and Govemment contact information. If the Government relocates previously
registered AFF equipment into another aircraft, then the Government shall contact the Boise Help Desk
making the appropriate changes prior to aircraft use. In all cases, the Government shall ensure that the
correct aircraft information is indicated within Webtracker. The Government shall contact the Boise Help
Desk of system changes, scheduled maintenance, and planned service outages.

e. Registration contact information, a web accessible feedback form, and additional information is available at:
https://www.aff.gov. The Boise Help Desk can be reached at (800) 253-5559 or (208) 387-5290.

£ Prior to the aircraft’s annual Contract inspection, the Contractor shall ensure comipliance with all AFF
systems requirements. . The Contractor shall additionally perform an operational check.of the system. Asa
minimum, the operational check shall consist of confirming the aircraft being tested is displayed tn
Webtracker (indicating it is currently transmitting data to Webtracker) and that all information displayed in
Webtracker is current. A username and password is required to access Webtracker. Log on to the AFF
website at https://Awww.aff.gov to request a username and password, or contact the Boise help desk. When
the aircraft passes the operational check, an aircraft log bool entry shall de made.

This clause incorporates Specification Section Supplement available at: https://www.aff.gov/contractspecs
with the same force and effect as if they were presented as full text herein,
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C.9 Safety Plan: The Government employee(s) and contractor will have a Safety Plan in place prior to each flight.

C.10 — Issuing Delivery Orders

Reference Clauses: Ordering FAR 52.216-18, Delivery Order Limitations FAR 52.216-19 and Indefinite Quantity
PAR 52.216-22,

1- Ail services shall be procured under the contract through the issuance of task orders. These task orders will be

issued on an Optional Form 347 and signed by a Contracting Officer of the Northern Research Station, All task orders
are subject to the terms and conditions of this contract. In the event of conflict between the task order and this contract
the contract shall control, If mailed, a task order is considered “issued” when the government deposits the order in the

mail.

2— Individual projects contemplated will be sent to the contractor for pricing prior to issuance of any task order. The
contracter shall submit a detailed proposal to the Government outlining the hourly costs, material, etc. The
Government will issue a written task order. Task orders for a project will contain a firm fixed amount that will be the
total compensation for that project. This amount shall not be changed unless the requirements of the project are
changed, and than only if the Contracting Officer signs prior written modification. Bach task order shall include, at a
minimum, all of the following information: so

The contract number;

Task order number;

Authorized signature of the warranted Contracting Officer,

Detailed description of the task order or service to be performed; ~

Firm fixed price for the project;

Firm deliver dates;

Designation of Contracting Officer’s Technical Representative (COR);

Government-furnished property or supplies provided (if applicable);

Much of the information discussed in the pricing/scope and negotiations.

Anything else the CO deems appropriate.

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C.11 - Task Order Modifications

Any change fo a task order will be made in writing as modifications, Task order modifications will be issued only by
the Contract Officer and shall be identified as a modification of a specific task order. The amount of the original task
order shall not be changed unless the requirements of the project are changed, and than only then by written
modification signed by the Contracting Officer.

SECTION D--PACKAGING AND MARKING

{For this Solicitation, there are NO clauses in this Section}
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SECTION E--INSPECTION AND ACCEPTANCE
E.1 FAR 52.246-4 Inspection of Services—Fixed-Price.

INSPECTION OF SERVICES—FIXED-PRICE {Aus 1996)

(a) Definition. “Services," as used in this clause, includes services performed, workmanship, and material furnished or utllized in
the performance of services.

(b) The Coniractor shall provide and maintain an inspection system acceptabie to the Government covering the services under
this contract, Complete records of all Inspection work performed by the Contractor shall be maintained and made available to the
Government during contract performance and for as long afterwards as the contract requires.

{c) The Government has the right to inspect and test all services called for by the contract, to the extent practicable at all times
and places during the term of the contract, The Government shall perform inspections and tests in a manner that will not unduly
delay the work.

(d) If the Government performs inspections or tests on the premises of the Contractor or a subcontractor, the Contractor shall
furnish, and shall require subcontractors to furnish, at no increase in contract price, all reasonable factlities and assistance fer the
safe and convenient performance of these duties.

{e) If any of ihe services do not conform with contract requirements, the Government may require the Contractor te perform the
services agaln in conformity with contract requirements, at no increase in contract amount. When the defects In services cannot
be corrected by reperformance, the Government may—

(71) Require the Contractor to take necessary action to ensure that future performance conforms to contract requirements;
and —
(2) Reduce the contract price to reflect the reduced value of the services performed.

(f} If the Contractor fails ta promptly perform the services again or to take the necessary action to ensure future performance In
conformity with contract requirements, the Government may—

(1) By contract or otherwise, perform the services and charge to the Contractor any cost incurred by the Government that Is
directly related to the performance of such service; or
(2) Terminate the contract for default.

(End of clause)
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SECTION F--DELIVERIES OR PERFORMANCE

F.1 FAR 52,252-2 Clauses Incorporated by Reference (FEB 1998)

- This contract incorporates one or more clauses by reference, with the same force and effect as if they were given in full
text. Upon request, the Contracting Officer will make their full text avatlable. Also, the full text of a clause may be
accessed electronically at this/these address(es): www.amet.gov/far/

FEDERAL ACQUISITION REGULATION (48 CFR CHAPTER 1} CLAUSES

§2.242-15 Stop Work Order (AUG 1989)
52.242-17 Government Delay of Work (APR 1984)

EF.2. AGAR 452.211-74 Period of Performance (FEB 1988)

The period of performance of this contract is from date of award expected mid March, 2008 through March, 2009 with
four (4) one year options.
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SECTION G--CONTRACT ADMINISTRATION DATA

“GL AGAR 452.215-73 Post Award Conference (NOY 1996)

A post award conference with the successful offeror is required. It will be scheduled within ten (10) days after the date
of contract award. The conference will be held at USDA Forest Service, 271 Mast Road, Durham, NH 03824.

G2 DESIGNATION OF CONTRACTING OFFICER'S REPRESENTATIVE

The Contracting Officer designates the Contracting Officer's Representative (COR). The COR is responsible

for adinmistering the performance of work under this contract. In no event, however, will any understanding,

agreement, modification, change order, or other matter deviating from the terms of this contract be effective or
_ binding upon the Government unless formalized by proper contractual documents executed by the Contracting

Officer prior to completion of the contract,

The Contracting Officer should be informed, as soon as possible, of any actions or inactions by the Contractor
or the Government which will change the required delivery or completion times.stated in the contract, and the
contract will be modified accordingly. (This does not apply to individual task assignments which were issued’
by the COR, provided they do not affect the delivery schedule or performance period stated in.the-contraot,)

On all matters that pertain to the contract terms, the Contractor must communicate with the Contracting Officer.
Whenever, in the opinion of the Contractor, the COR requests effdrt outside the scope of the contract, the
Contractor should so advise the COR. If the COR persists and there still exists a disagreement as to proper
contractual coverage, the Contracting Officer should be notified immediately, preferably in writing if time
pemnits, Proceeding with work without proper contractual coverage could result i in nonpayment or necessitate

submittal of a contract claim.

G3 PROJECT MANAGER "
The offexgris Tanested to designate a Project Manager to be contacted for prompt contract administration:

Lx CANEBAYL

 

 

‘Telephone Numb Gacinging cell phone if available)
K OS OE BBS 2P We

 

The contractor shall provide a Proj ect Manager who shall have the authority to make any no-cost contract technical,
hiring and dismissal decisions, or special arrangements regarding this contract., This individyal shall be responsible for
. the overall managernent and coordination of this contract and shall act as the central [point of contact.with the
Government. The Project Manager, or a designated representative, shall have full authority to act for the Contractor in

the performance of the required services, The Project Manager, or a designated representative, shall meet with the
: +-~Contracting Officer's Representative (COR) to discuss problem areas as they occur. The Project Manager or his/her
representative shall respond within four hours after notification of the existence of a problem. The Project Manager

shall be able to fluently read, write, and speak the English language, -

‘G4 INVOICE REQUIREMENTS ‘ .
Monthly invoices, in areas, are authorized, Contractor shall fax a copy of the i invoice to COR and mail original to the
Contracting Officer. The COR will inspect and accept work. Ino work is anticipated contractor shall dgcument by

‘memo and fax to CO within 7 days prior to the end of that month.

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SECTION H--SPECIAL CONTRACT REQUIREMENTS

1.1 AGAR 452,237-74_ Key Personnel (FEB 1988)
(a) The Contractor shall assign to this contract the following key personnel: Pilot.

(b) During the first ninety (90) days of performance, the Contractor shall make no substitutions of key personnel unless
the substitution is necessitated by illness, death, or termination of employment. The Contractor shall notify the
Contracting Officer within 15 calendar days after the occurrence of any of these events and provide the information
required by paragraph (¢) below. After the initial 90-day period, the Contractor ghall submit the information required

by paragraph (c) to the Contracting Officer at least 15 days prior to making any permanent substitutions.

(c) The Contractor shall provide a detailed explanation of the circumstances necessitating the proposed substitutions,
complete resumes for the proposed substitutes, and any additional information requested by the Contracting Officer.
Proposed substitutes should have comparable qualifications to those of the persons being replaced. The Contracting
Officer will notify the Contractor within 15 calendar days after receipt of all required information of the decision on
substitutions. The contract will be modified to reflect any approved changes of key personnel.

H2. AGAR 452.228-71 Insurance Coverage (NOV 1996) Alternate L(NOV 1996)

Pursuant to FAR clause 52.228-5, Insurance-Work on a Government Installation, the Gontractor will be required to
present evidence to show, as a minimum, the amounts of insurance coverage indicated below:

(a) Workers Compensation and Employer’s Liability. The Contractor is required to comply with applicable

Federal and State workers’ compensation and occupational disease statutes. If occupational diseases are not

compensable under those statues, they shail be covered under the employer's liability section of the insurance
policy, except when contract operations aré So commingled with a Conttactor’s commercial operations that tt
would not be practical to require this coverage. Employer’s liability coverage of at Least $100,000 shall be
required, except in States with exclusive or monopolistic funds that do not permit worker's compensation to be

written by private carriers.

(b) General Liability.

(i) The Contractor shall have bodily injury liability insurance coverage written on a comprehensive form of
policy of af least $500,000 per occurrence. .
(2) The Contractor shall have property damage liability insurance shall be required in the amount of

$100,080 per occurrence.

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(c) Automobile Liability. The Contractor shall-have automobile liability insurance written on 4 comprehensive --~ -~

form of policy. The policy shall provide for bodily and property damage liability covering the operation of all

automobiles used in connection with performing the contract. Policies covering automobiles operated in United
States shall provide coverage of at least $200,000 per person and $50,000 per occurrence for bodily injury and

$20,000 per occurrence for property damage or loss.

(d) Aircraft Public and Passenger Liability. When aircraft are used in connection with performing the contract; the

Contractor shall have aireraft public and passenger liability insurance. Coverage shall be at least $200,000 per

person and $500,000 per occurrence for bodily injury, other than passenger injury. Coverage for passenget
injury shall be at least $200,000 multiplied by the number of seats or passengers, whichever is greater.

 
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PART II--CONTRACT CLAUSES
SECTION I--CONFRACT CLAUSES -

Lil FAR 52.252-2 Clauses Incorporated by Reference (FEB 1998)

This contract incorporates one or more clauses by reference, with the same force and effect as if they were given in tull
text, Upon request, the Contracting Officer will make their full text available. Also, the full text of a clause may be

accessed electronically at this/these address(es):

www.arnet. gov/far/
www.usda.gov/procurement/policy/agar. html

FEDERAL ACQUISITION REGULATION (48 CFR CHAPTER 1) CLAUSES

§2.202-1 Definitions (JUL 2004)
52.203-3 Gratuities (APR 1984)
52.203-5 Covenant-Against Contingent Fees (APR 1984)
52.203-6 Restrictions on Subcontractor Sales to the Government (TUL 1995)
52.203-7 Anti-Kickback Procedures (JUL 1995)
52,203-8 Cancellation, Rescission, and Recovery of Funds for Mlegal
or Improper Activity (TAN 1997)
52.203-L0 Price or Fee Adjustment for Ifegal or Improper Activity JAN 1997)
§2.203-12 Limitation on Payments to Influence Certain Federal Transactions (SEP 2005)
52.204-4 Printed or Copied Double- Sided on Recycled Paper (AUG 2000)
52.204-9 Personal Identity Verification of Contractor Personnel (JAN 2006)
52.209-6 Protecting the Government's Interest when Subcontracting
with Contractors Debarred, Suspended, or Proposed for Debarment (JAN 2005)
52.215-2 Audit and Records -- Negotiation (JUN 1999)
52.215-8 Order of Precedence--Uniform Contract Format (OCT 1997)
§2.217-2 Cancellation Under Multiyear Contracts (OCT 1997)
52.219-6 Notice of Total Small Business Set-Aside (JUN 2003)
$2.219-8 Utilization of Small Business Concerns (MAY 2004)
52,.219-9 Small Business Subcontracting Plan (JUL 2005) (Applicable if > 85 60,000)
Alternate II (Oct 2001)
52.219-14 —_ Limitations on Subcontracting (DEC 1996)
§2.219-16 Liquidated Damages --Subcontracting Plan (JAN 1999) (Applicable if > $500,000)
$2.219-27 Notice of Total Service-Disabled Veteran-Owned Small Business Set-Aside (MAY 2004)
52.222-3 Convict Labor (SUN 2003)
5§2.222-4 Contract Work Hours and Safety Standards Act -- Overtime Compensation (JUL 2005)
52.222-21 Prohibition of Segregated Facilities (FEB 1999)
§2.222-26 Equal Opportunity (APR 2002)

§2.222-35 Equal Opportunity for Special Disabled Veterans, Veterans of the Vietnam Era, and other Bligible

Veterans (DEC 2001)
52.222-36 Affirmative Action for Workers with Disabilities (JUN 1998)

§2.222-37 | Employment Reports on Special Disabled Veterans, Veterans of the Vietnam Era, and other Eligibie

Veterans (DEC 2001)
$2.222-41 Service Contract Act of 1965, as Amended (JUL 2005)

$2.222-43 Fair Labor Standards Act and Service Contract Act Price Adjustment (Multiple Year and Option

Contracts) (MAY 1989)
52.223-6 Drug-Free Workplace (MAY 2001)
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$2.223-14 Toxic Chemical Release Reporting (AUG 2003)

§2.225-13 Restrictions on Certain Foreign Purchases (FEB 2006)

52.227-1 Authorization and Consent JUL 1995)

52.227-2 Notice and Assistance Regarding Patent and Copyright Infringement (AUG 1996)
52.228-4 Work on a Government Installation

52.229-3 «+ Federal, State, and Local Taxes (APR 2003)

52.232-1 Payments (APR 84)

52.232-8 Discounts for Prompt Payment (FEB 2002)

52.232-9 Limitation on Withholding of Payments (APR 1984}

52.232-11 Extras (APR 1984)

52.232-17 Interest (TUN 1996}

52.232-18 Availability of Funds (APR 1984)

52,232-23 Assignment of Claims (JAN 1986)

52,.232-25 Prompt Payment (OCT 2003}

52,232-33 Payment by Electronic Funds Transfer — Central Contractor Registration (OCT 2003)
52,233-1 Disputes GULY 2002)

52,233-3 Protest After Award (AUG 1996)

§2.233-4 Applicable Law for Breach of Contract Claim (OCT 2004)

$2.237-2 Protection of Government Buildings, Equipment, and Vegetation (APR 1984)
§2.242-13 Bankruptey (JUL 1995)

52,243-1 Changes--Fixed-Price (AUG 1987)--Alternate I (APR 1984)

52.244-6 Subcontracts for Commercial Items (FEB 2006)

52.245-1 Property Records (APR 1984) - we
52,245-2 Government Property (Fixed-Price Contracts) (MAY 2004)

52,.246-25 Limitation of Liability—Services (FEB 1997)

52,248+] Value Engineering (FEB 2000)

52.249-2 Termination for Convenience of the Government (Fixed-Price} (MAY 2004)
52.249-8 Default (Fixed-Price Supply and Service) (APR 1984)

§2.253-1 Computer. Generated Forms (JAN 1991)

AGRICULTURE ACQUISITION REGULATION (48 CFR CHAPTER 4) CLAUSES

452.237-70 Loss, Damage, Destruction or Repair (FEB 1988)
452.237-75 Restrictions Against Disclosure (FEB 1988)

L2 52.204-7 Central Contractor Registration (Oct 2003)

(a} Definitions. As used in this clause-

"Central Contractor Registration (CCR) database" means the primary Government repository for Contractor
information required for the conduct of business with the Government.
* "Data Universal Numbering System (DUNS) number" means the 9-digit number assigned by Dun and Bradstreet,

Inc. (D&B) to identify unique business entities.

"Data Universal Numbering System +4 (DUNS+4) number" means the DUNS number assigned by D&B plus a 4-
character suffix that may be assigned by a business concern. (D&B has no affiliation with this 4-character suffix.) This
4-character suffix may be assigned at the discretion of the business concern to establish additional CCR records for
identifying alternative Electronic Funds Transfer (EFT) accounts (see the FAR at Subpart 32.11) for the same parent
concern.

"Registered in the CCR database" means that-

(1) The Contractor has entered all mandatory information, including the DUNS number or the DUNS+4

number, into the CCR database; and
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(2) The Government has validated all mandatory data fields and has marked the record "Active",

(b)(1) By submission of an offer, the offeror acknowledges the requirement that a prospective awardee shall be
registered in the CCR database prior to award, during performance, and through final payment of any contract, basic
agreement, basic ordering agreement, or blanket purchasing agreement resulting from this solicitation.

(2) The offeror shall enter, in the block with its narne and address on the cover page of its offer, the annotation
"DUNS" or "DUNS +4" followed by the DUNS or DUNS +4 numbers that identifies the offeror's name and address
exactly as stated in the offer. The DUNS number will be used by the Contracting Officer to verify that the offeror is
registered in the CCR database.

(c) If the offeror does not have a DUNS number, it should contact Dun and Bradstreet directly to obtain one.
(1) An offeror may obtain a DUNS number-
(i) IF located within the United States, by calling Dun and Bradstreet at 1-866-705-5711 or via the
Internet at Aifp:/Avww.dnb.com; or
(ii) Lf located outside the United States, by contacting the local Dun and Bradstreet office,
(2) The offeror should be prepared to provide the following information:
(i) Company legal business.
(it) Tradestyle, doing business, or other name by which your entity is commonly recognized.
(iii) Company Physical Street Address, City, State, and Zip Code,
(iv) Company Mailing Address, City, State and Zip Code (if separate from physical).
(v) Company Telephone Number.
(vi} Date the company was started.
(vii) Number of employees atyour location, ..---------. cS eeeeeumees ete cnn cence
(viii) Chief executive officet/key manager.
(ix) Line of business (industry).
(x) Company Headquarters name and address (reporting relationship within your entity).

(d) If the Offeror does not become registered in the CCR database in the time prescribed by the Contracting Officer,
the Contracting Officer will proceed to award to the next otherwise successful registered Offeror,

(e) Processing time, which normally takes 48 hours, should be taken into consideration when registering. Offerors
who are not registered should consider applying for registration immediately upon receipt of this solicitation.

(f} The Contractor is responsible for the accuracy and completeness of the data within fhe CCR database, and for any
liability resulting from the Government's reliance on inaccurate or incomplete data. To remain registered in the CCR
database after the initial registration, the Contractor is required to review and update on an annual basis from the date
of initial registration or subsequent updates its information in the CCR database to ensure it is current, accurate and
complete. Updating information in the CCR does not alter the terms and conditions of this contract and is not a
substitute for a properly executed contractual document,

(z) (1) G) If a Contractor has legally changed its business name, "doing business as" name, or division name ;
(whichever is shown on the contract), or has transferred the assets used in performing the contract, but has not
completed the necessary requirements regarding novation and change-of-name agreements in Subpart 42.12,
the Contractor shall provide the responsible Contracting Officer a minimum of one business day's written
notification of its intention to (A) change the name in the CCR database; (B) comply with the requirements of
Subpart 42.12 of the FAR; and (C) agree in writing to the timeline and procedures specified by the responsible
Contracting Officer. The Contractor must provide with the notification sufficient documentation to support
the legally changed name.

(ii) If the Contractor fails to comply with the requirements of paragraph (g)(1}G) of this clause, or fails to
perform the agreement at paragraph (g)(1)(i)(C) of this clause, and, in the absence of a properly executed
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novation or change-of-name agreement, the CCR information that shows the Contractor to be other than the
Contractor indicated in the contract will be considered to be incorrect information within the meaning of the
“Suspension of Payment" paragraph of the electronic funds transfer (EFT) clause of this contract.

(2) The Contractor shall not change the name or address for EFT payments or manual payments, as appropriate,
in the CCR record to reflect an assignee for the purpose of assignment of claims (see FAR Subpart 32,8, Assignment of
Claims). Assignees shall be separately registered in the CCR database, Information provided to the Contractor's CCR
record that indicates payments, including those made by EFT, to an ultimate recipient other than that Contractor will be
considered to be incorrect information within the meaning of the "Suspension of payment" paragraph of the EFT clause
of this contract.

(h) Offerors and Contractors may obtain information on registration and annual confirmation requirements via the
internet at hitp.//www.cer.gov or by calling 1-888-227-2423, or 269-961-5757,

1.3 _52,222-39 NOTIFICATION OF EMPLOYEE RIGHTS CONCERNING PAYMENT OF UNION DUES
OR FEES (DEC 2004)

(a) Definition. As used in this clause-

"United States" means the 50 States, the District of Columbia, Puerto Rico, the Northern Mariana Islands,
American Samoa, Guam, the U.S. Virgin Islands, and Wake Island.

(b) Except as provided in paragraph (e) of this clause, during the term of this.contract, the Contractor shall post
a notice, in the form of a poster, informing employees of their rights concerning union membership and payment of
union dues and fees, in conspicuous places in and about all its plants and offices, including all places where notices to
employees are customarily posted, The notice shall include the following information (except that the information
pertaining to National Labor Relations Board shail not be included in notices posted in the plants or offices of carriers
subject to the Railway Labor Act, as amended (45 U.S.C. 151-188)). i.

Notice to Employees

Under Federal law, employees cannot be required to join a union or maintain membership in a union in order to
retain their jobs, Under certain conditions, the law permits a union and an employer to enter into a union-security
agreement requiring employees to pay uniform periodic dues and initiation fees. However, employees who are not
union members can object to the use of their payments fér certain purposes and can only: be required to pay their share
of union costs relating to collective bargaining, contract administration, and grievance adjustment.

If you do not want to pay that portion of dues or fees used to support activities not related to collective
bargaining, contract administration, or grievance adjustment, you are entitled to an appropriate reduction in your
payment. If you believe that you have been required to pay dues or fees used in part to support activities not related to
collective bargaining, contract administration, or grievance adjustment, you may be entitled to a refund and to an

appropriate reduction in future payments,

For further information conceming your rights, you may wish to contact the National Labor Relations Board
(NLRB) either at one of its Regional offices or at the following address or toll free number;

National Labor Relations Board
Division of Information
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1099 14th Street, N.W.
Washington, DC 20570
1-866-667-6572

1-866-316-6572 (TTY)

To locate the nearest NLRB office, see NLRB's website at Attp:/Avww.nirb, gov.

{c) The Contractor shall comply with alt provisions of Executive Order 13201 of February 17, 2001, and related
implementing regulations at 29 CFR part 470, and orders of the Secretary of Labor.

(d) In the event that the Contractor does not comply with any of the requirements set forth in paragraphs {b), (c),
of (g), the Secretary may direct that this contract be cancelled, terminated, or suspended in whole or in part, and declare
the Contractor ineligible for further Government contracts in accordance with procedures at 29 CFR part 470, Subpart
B-Compliance Evaluations, Complaint Investigations and Enforcement Procedures. Such other sanctions or remedies
may be imposed as are provided by 29 CFR part 470, which implements Executive Order 13201, or as are otherwise’
provided by law.

(e) The requirement to post the employee notice in paragraph (b) does net apply to-
(1) Contractors and subcontractors that employ fewer than 15 persons;

(2) Contractor establishments or construction work sites where no union has been formally recognized
: . by. fhe Contractor or certified-as. the exclusive bargaining-representative of the Contractor's employees; . .. -

(3) Contractor establishments or construction work sites located in a jurisdiction named in the definition
of the United States in which the law of that jurisdiction forbids enforcement of union-security agreements;

(4) Contractor facilities where upon the written request of the Contractor, the Department of Labor °
Deputy Assistant Secretary for Labor-Management Programs has waived the posting requirements with respect
to any of the Contractor's facilities if the Deputy Assistant Secretary finds that the Contractor has demonstrated

that-

(i) The facility is ia all respects separate and distinct from activities of the Contractor related to
the performance of a contract; and

(ii) Such a waiver wiil not interfere with or impede the effectuation of the Executive order; or

(5) Work outside the United States that does not involve the recruitment or employment of workers
within the United States.

(f) The Department of Labor publishes the official employee notice in two variations; one for contractors
covered by the Railway Labor Act and a second for all other contractors. The Contractor shall-

(1) Obtain the required employee notice poster from the Division of Interpretations and Standards, ,
Office of Labor-Management Standards, U.S, Department of Labor, 200 Constitution Avenue, NW, Room N-
5605, Washington, DC 20210, or from any field office of the Department's Office of Labor-Management
Standards or Office of Federal Contract Compliance Programs;

(2) Download a copy of the poster from the Office of Labor-Management Standards website at
http://www.olms.dol.gov, or
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(3) Reproduce and use exact duplicate copies of the Department of Labor's official poster.

g) The Contractor shall include the substance of this clause in every subcontract or purchase order that exceeds the
simplified acquisition threshold, entered into in connection with this contract, unless exempted by the Department of
Labor Deputy Assistant Secretary for Labor-Management Programs on account of special circumstances in the national
interest under authority of 29 CFR 470.3(c¢}. For indefinite quantity subcontracts, the Contractor shall include the
substance of this clause if the value of orders in any calendar year of the subcontract is expected to exceed the
simplified acquisition threshold. Pursuant to 29 CFR part 470, Subpart B-Compliance Evaluations, Complaint L
Investigations and Mnforcement Procedures, the Secretary of Labor may direct the Contractor to take such action inthe |
enforcement of these regulations, including the imposition of sanctions for noncompliance with respect to any such
subcontract or purchase order. If the Contractor becomes involved in litigation with a subcontractor or vendor, or is
threatened with such involvement, as 4 rasuit of such direction, the Contractor may request the United States, through
the Secretary of Labor, to enter into such litigation to protect the interests of the United States.

L4 FAR 52.222-42 Statement of Equivalent Rates for Federal Hires (MAY 1989)

In compliance with the Service Contract Act of 1965, as amended, and the regulations of the Secretary of Labor (29-
CER Part 4), this clause ‘ dentifies the classes of service employees expected to be employed under the contract and
states the wages and fringe benefits payable to each ifthey were employed by the contracting agency subject to the
provisions of 5 U.S.C. 5341 or 5332.

This Statement is for Information Only:
his Nota Wawe Determinations t--— v= ete See

Employee Class Monetary Wage--Fringe Benefits
Pilot $33.22
L5 FAR 52.244-6 Subcontracts for Commercial Items (DEC 2004)

(a) Definitions. As used in this clause-
"Commercial item” has the meaning contained in Federal Acquisition Regulation 2..202-1, Definitions.
"Sybcontract" includes a transfer of commercial items between divisions, subsidiaries, or affiliates of the Contractor or
subcontractor at any tier.
(b) To the maximum extent practicable, the Contractor shall incorporate, and require its subcontractors at all tiers to
incorporate, commercial items or nondevelopmental items as components of items to be supplied under this contract.
(c)(1) The following clauses shall be flowed down to subcontracts for commercial'items: ©
(i) 52.219-8, Utilization of Small Business Concems (MAY 2004) (15 U.S.C. 637(d)(2) and (3)), in all
subcontracts that offer further subcontracting opportunities. If the subcontract (except subcontracts to small
business concerns) exceeds $500,000 (% 1,000,000 for construction of any public facility), the subcontractor
must include 52.219-8 in lower tier subcontracts that offer subcontracting opportunities.
(ii) 52.222-26, Equal Opportunity (APR 2002) (E.0. 11246).
(iii) 52.222-35, Equal Opportunity for Special Disabled Veterans, Veterans of the Vietnam Era and Other
Eligible Veterans (DEC 2001) G8 U.S.C. 4212(2)).
(iv) 52.222-36, Affirmative Action for Workers with Disabilities (June 1998) (29 U.S.C. 793).
(v) 52.222-39, Notification of Employee Rights Concerning Payment of Union Dues or Fees (DEC 2004) (E.0.
13201). Flow down as required in accordance with paragraph (2) of FAR clause 52.222-39).
(vi) 52,247-64, Preference for Privately Owned U.8.-Flag Commercial Vessels (APR 2.003) (46 U.S.C. Appx
1941 and 10 U.S.C. 2631) (flow down required in accordance with paragraph (d) of FAR 52.247-64).
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(2) While not required, the Contractor may flow down to subcontracts for commercial items a minimal number of
additional clauses necessary to satisfy its contractual obligations.
(d) The Contractor shall include the terms of this clause, including this paragraph (d), in subcontracts awatded under
this contract.

1.6 FAR 52.246-20 Warranty of Services (MAY 2001)

(a) Definition. "Acceptance," a8 used in this clause, means the act of an authorized representative of the Government
by which the Government assumes for itself, or as an agent of another, ownership of existing and identified supplies, or
approves specific services, as partial or complete performance of the contract.

(b) Notwithstanding inspection and acceptance by the Government or any provision conceming the conclusiveness
thereof, the Contractor warrants that all services performed under this contract will, at the time of acceptance, be free
from defects in workmanship and conform to the requirements of this contract. The Contracting Officer shall give
written notice of any defect or nonconformance to the Contractor within 30 days from the date of acceptance by the
Government. This notice shall state either--

(1) That the Contractor shall correct or reperform any defective or nonconforming services; OF
(2) That the Government does not require correction or reperformance.

-(o} Tf the Contractor is required to correct oF reperform, it shall be at no cost to the Government, and any services

corrected or reperformed by the Contractor shall be subject to this clause to the same extent.as. Work initially -

performed. If the Contractor fails or refuses to correct or reperform, the Contracting Officer may, by contract or
otherwise, correct or replace with similar services and charge to the Contractor the cost occasioned to the Government
thereby, or make an equitable adjustment in the contract price.

(d) If the Government does not require correction or reperformance, the Contracting Officer shall make an equitable

adjustment in the contract price.

1.7 FAR 52,216-18 Ordering (OCT 1995)

(a) Any supplies and services to be furnished under this contract shall be ordered by issuance of delivery orders or task
orders by the individuals or activities designated in the Schedule, Such orders may be issued from March, through
March of the following year for the base period or any option period exercised.

(b) All delivery orders or task. orders are subject to the terms and conditions of this contract. in the event of conflict
between a delivery order or task order and this contract, the contract shall control.

(c) If mailed, a delivery order or task order is considered "isgued" when the Government deposits. the order in the mail.
Orders may be issued orally, by facsimile, or by electronic commerce methods only if authorized in the Schedule.

 
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1.8 FAR 52.216-19 Order Limitations ( OCT 1995)

(a) Minimum order. When the Government requires supplies or services covered by this contract in an amount of less
than $500.00, the Government is not obligated to purchase, nor is the Contractor obligated to furnish, those supplies or
services under the contract.

(b) Maximum order. The Contractor is not obligated to honor-~

(1} Any order for a single item in excess of $50,000;

(2) Any order for a combination of items in excess of $100,000; or

(3) A series of orders from the same ordering office within 60 days that together cafl for quantities exceeding the
limitation in subparagraph (b)(1) or (2) of this section.

(c) If this is a requirements contract (i.e., includes the Requirements clause at subsection 52.216-21 of the Federal
Acquisition Regulation (FAR)), the Government is not required to order a part of any one requirement from the
Contractor if that requirement exceeds the maximum-order limitations in paragraph (b) of this section.

(d) Notwithstanding paragraphs (b) and (c) of this section, the Contractor shall honor any order exceeding the
maximum order limitations in paragraph (b), unless that order (or orders) is returned to the ordering office within 7
days after issuance, with written notice stating the Contractor's intent not to ship the iter (or items) called for and the
reasons. Upon receiving this notice, the Govemment may acquire the supplies or services from another source.

L9 FAR 52.216-22 Indefinite Quantity (OCT 1995)

(a) This is an indefinite-quantity contract for the supplies or services specified, and effective for the period stated, in the
Schedule. The quantities of supplies and services specified in the Schedule are estimates only and are not purchased by

this contract.

(b) Delivery or performance shall be made only as authorized by orders issued in accordance with the Ordering clause.
The Contractor shall furnish to the Government, when and if ordered, the supplies or services specified in the Schedule
up to and including the quantity designated in the Schedule as the "maximum." The Government shall order at least the

quantity of supplies or services designated in the Schedule as the "minimum."

(c) Except for any limitations on quantities in the Order Limitations clause or in the Schedule, there is no limit on the
number of orders that may be isstied. The Government may issue orders requiring delivery to multiple destinations or
performance at multiple locations.

(d) Any order issued during the effective period of this contract and not completed within that périod shall ‘be
~~ completed by the Contractor within the time specified in the order. The contract shall govern the Contractor's‘and ~~ --
Government's rights and obligations with respect to that order to the same extent as if the order were completed during
the contract's effective period; provided, that the Contractor shall not be required to make any deliveries under this

contract after March, 2012.
110 FAR 52.217-8 Option to Extend Services (NOV 1999)
The Government may require continued performance of any services within the limits and at the rates specified in the

contract. These rates may be adjusted only as a result of revisions to prevailing labor rates provided by the Secretary of
Labor. The option provision may be exercised more than once, but the total extension of performance heretnder shall
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not exceed 6 months. The Contracting Officer may exercise the option by written notice to the Contractor within 30.
days. ;

111 FAR $2.217-9 Option to Extend the Term of the Contract (MAR 2000) Deviation .

(a) The Government may extend the term of this contract by written notice to the Contractor by March, of the
applicable year; provided that the Government gives the Contractor a preliminary written notice of its intent to extend
at least 30 days before the contract expires. The preliminary notice does not commit the Government to an extension.

(b) If the Government exercises this option, the extended contract shall be considered to include this option clause.

(c) The total duration of this contract, including the exercise of any options under this clause, shall not exceed 5 years
and 6 months.

L12. 52.222-39 NOTIFICATION OF EMPLOYEE RIGHTS CONCERNING PAYMENT OF UNION DUES
OR FEES (DEC 2004

(a) Definition, As used in this clause-

"United States" means the 50 States, the District of Columbia, Puerto Riso, the Northern Mariana Islands, “
American Samoa, Guam, the U.S. Virgin Islands, and Wake Island,

(b) Except as provided in paragraph (e) of this clause, during the term of this contract, the Contractor shall post
anotice, in the form of a poster, informing employees of their rights concerning union membership and payment of
union dues and fees, in conspicuous places in and about all its plants and offices, including all places where notices to
employees are customarily posted. The notice shall include the following information (except that the information
pertaining fo National Labor Relations Board shall not be included in notices posted in the plants or offices of carriers
subject to the Railway Labor Act, as amended (45 U.S.C, 151-188)).

Notice to Employees

Under Federal law, employees cannot be required to join a union or maintain membership in a union in order to
retain their jobs. Under certain conditions, the law permits a union and an employer to enter into a union-security
agreement requiring employees to pay uniform periodic dues and initiation fees. However, employees who are not
union members can abject to the use of their payments for certain purposes and can only be required to pay their share
of union costs relating to collective bargaining, contract administration, and grievance adjustment.

If you do not want to pay that portion of dues or fees used to support activities not related to collective .
bargaining, contract administration, or grievance adjustment, you, are. entitled to an appropriate reduction. in your... ...
payment. If you believe that you have been required to pay dues or fees used in part to support activities not related to
collective bargaining, contract administration, or grievance adjustment, you may be entitled to a refund and to an

appropriate reduction in future payments.

For further information concerning your rights, you may wish to contact the National Labor Relations Board
(NLRB) either at one of its Regional offices or at the following address or toll free number:

National Labor Relations Board

Division of Information
1099 14th Street, N.W.
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Washington, DC 20570
1-866-667-6572
1-866-316-6572 (TTY)

To locate the nearest NLRB office, see NLRB's website at http:/www.nlrb gov.

(c) The Contractor shall comply with all provisions of Executive Order 13201 of February 17, 2001, and related
implementing regulations at 29 CFR part 470, and orders of the Secretary of Labor.

(d) In the event that the Contractor does not comply with any of the requirements set forth in paragraphs (0), (c),
or (g), the Secretary may direct that this contract be cancelled, terminated, or suspended in whole or in part, and declare
the Contractor ineligible for further Government. contracts in accordance with procedures al 29 CFR part 470, Subpart
B-Compliance Evaluations, Complaint Investigations and Enforcement Procedures. Such other sanctions or remedies
may be imposed as are provided by 29 CFR part 470, which implements Executive Order 13201, or as are otherwise

provided by law.
(e) The requirement to post the employee notice in paragraph (b) does not apply to-
(1) Contractors and subcontractors that employ fewer than 15 persons;

{2) Contractor establishments or construction work sites where no union has been formally recognized
by the Contractor or certified as the exclusive bargaining representative of the Contractor's employees;

(3} Contractor establishments or construction work sites located in a jurisdiction named in the definition
of the United States in which the law of that jurisdiction forbids enforcement of union-security agreements,

(4) Contractor facilities where upon the written request of the Contractor, the Department of Labor

Deputy Assistant Secretary for Labor-Management Programs has waived the posting requirements with respect
to any of the Contractor's facilities if the Deputy Assistant Secretary finds that the Contractor has demonstrated

that-
(i) The facility is in all respects separate and distinct from activities of the Contractor related to
the performance of a contract; and ss ‘
(ii) Such a waiver will not interfere with or impede the effectuation of the Executive order; or
(5) Work outside the United States that does not involve the recruitment or employment of workers
within the United States.

(f) The Department of Labor publishes the official employee-notice in two, variations, one for contractors
covered by the Railway Labor Act and a second for all other contractors. The Contractor shall- mo

Office of Labor-Management Standards, U.S. Department of Labor, 200 Constitution Avenue, NW; Room N-
5605, Washington, DC 20210, or from any field office of the Department's Office of Labor-Management
Standards or Office of Federal Contract Compliance Programs;

(1) Obtain the required employee notice poster from the Division of Interpretations and Standards, i

(2) Download a copy of the poster from the Office of Labor-Management Standards website at
http-www.olms.dal.gov; or
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(3) Repreduce and use exact duplicate copies of the Department of Labor's official poster.

(g) The Contractor shall include the substance of this clause in every subcontract or purchase order that exceeds the.
simplified acquisition threshold, entered into in connection with this contract, unless exempted by the Department of
Labor Deputy Assistant Secretary for Labor-Management Programs on account of special circumstances in the national
interest under authority of 29 CFR 470,3(c), For indefinite quantity subcontracts, the Contractor shall include the -
subsiance of this clause if the value of orders in any calendar year of the subcontract is expected to exceed the
simplified acquisition threshold. Pursuant to 29 CFR part 470, Subpart B-Compliance Evaluations, Complaint
Investigations and Enforcement Procedures, the Secretary of Labor may direct the Contractor to take such action in the
enforcement of these regulations, including the imposition of sanctions for noncompliance with respect to any such
subcontract or purchase order. If the Contractor becomes involved in litigation with a subcontractor or vendor, or is
threatened with such involvement, as a result of such direction, the Contractor may request the United States, through
the Secretary of Labor, to enter into such litigation to protect the interests of the United States.

J.13_ FAR 52.232-19 Availability of Finds for the Next Fiscal Year (APR 1984)

Funds are not presently available for performance under this contract beyond 09/30/2008. The Government's obligation
for performance of this contract beyond that date is contingent upon the availability of appropriated funds from which
payment for contract purposes can be made. No legal liability on the part of the Government for any payment may arise —
for performance under this contract beyond 09/30/2007, until funds are made available to the Contracting Officer for
performance and until the Contractor receives notice of availability, to be confirmed in writing by the Contracting

Officer.

l.14 FAR 52.222-43 Fair Labor Standards Act and Service Contract Act—Price Adjustment (Multiple

Year and Option Contracts), (MAY 1989}
(a) This clause appties to both contracts subject to area prevailing wage determinations and contracts subject to collectiva
bargaining agreements.

(b) The Contractor warrants that the prices in this contract do not include any allowance for any contingency to cover increased
costs for which adjustment is provided under this clause.

{c) The wage determination, issued under the Service Contract Act of 1965, as amended, (41U.S.C. 351, et seq.), by the
Administrator, Wage and Hour Division, Employment Standards Administration, U.S. Department of Labor, current on the
anniversary date of a multiple year contract or the beginning of each renewal option period, shall apply to this contract. [f no such
determination has been made appticable to this contract, then the Federal minimum wage as established by section 6(a)(1) of the
Fair Labor Standards Act of 1938, as amended, (29 U.S.C. 206) current on the anniversary date of a multiple year contract or the
beginning of each renewal option period, shall apply to this contract.

(d} The contract price or contract unit price labor rates will be adjusted to reflect the Contractor's actual Increase or decrease In
applicable wages and fringe benefits to the extent that the increase is made ta comply with or the decrease is voluntarily mada by
the Contractor as 2 result of;

1. - (1) The. Depadment-of Labor wage determinalion applicable on the anniversary date of the.mutltiple.year, contract,.or at the...
beginning of the renewal option period, For example, the prior year wage determination required a minimum wage rate of $4.00
per hour. The Contractor chose to pay $4.10. The new wage determination increases the minimum rate to $4.50 per hour. Even if
the Contractor voluntarily increases the rate to $4.75 per hour, the allowable price adjustment is $.40 per hour;

(2) An increased or decreased wage determination otherwise applied to the contract by operation of law; or

(3) An amendment to the Fair Labor Standards Act of 1938 that is enacted after award of this contract, affects the minimum
wage, and becomes appticable to this contract under law,

(e) Any adjustment will be limited to increases or decreases in wages and fringe benefits as described in paragraph (c) of this
clause, and the accompanying increases or decreases in social security and unemployment taxes and workers’ compensation
insurance, but shail not othenwise include any amount for general and administrative costs, overhead, or profit,
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SERVICE REP . : . . SOL NO: AG-3604-8-08-0003
UNIT: Morgantown, WV

PROJ NAME: Aircraft and Pilot Services

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(f} The Contractor shall notify the Contracting Officer of any increase claimed under this clause within 30 days after receiving a
new wage determination unless this notification period is extended in writing by the Contracting Officer. The Contractor shail
promptly notify the Contracting Officer of any decrease under this clause, but nothing in the clause shail preclude the Government
irom asserting a claim within the period permitted by law. The notice shall contain a statement of the amount claimed and any
relevant supporting data, including payrall records, that the Contracting Officer may reasonably require, Upon agreement of the
parties, the contract price or cantract unit price labor rates shal] be modified in writing. The Contractor shall continue performance
pending agreement on or determination of any such adjustment and its effective date.

tg} The Contracting Officer or an authorized representative shall have access to and the right to examine any directly pertinent
books, documents, papers and records of the Contractor until the expiration of 3 years after final payment under the contract.

(End of clause)

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Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 82 of 97

ERWICE REP SOL NO: AG-3604-S-08-0003
UNIT: Morgantown, WV

PROJ NAME: Aircraft and Pilot Services

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PART II--LIST OF DOCUMENTS, EXHIBITS, AND OTHER ATTACHMENTS

SECTION J--LIST OF ATTACHMENTS

 

ATTACHMENT NUMBER/DESCRIPTION NUMBER OF PAGES
Attachment I, Wage Determination No. 95-0222 (REV 23) 4
Attachment IL, Experience Qué j i vA

Sample and Guidance on submitting a Proper Invoice 3

 
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- A PACH MET LE Page 1 of 4

WD 95-0222 (Rev.-23) was first posted on www.wdol.gov on 02/12/2008
Aerial Photographers/Seeding/Spraying

KEARSE KER ER RE RO Ok ok ek eh dR Rat RR RE ROR OR eR RR ke ka RR REE

REGISTER OF WAGE DETERMINATIONS UNDER 3 U.S. DEPARTMENT OF LABOR
THE SERVICE CONTRACT ACT > EMPLOYMENT STANDARDS ADMINISTRATION
By direction of the Secretary of Labor ° WAGE AND HOUR DIVISION

WASHINGTON, D.C. 20210

Wage Determination No: 1995-0222
Revision No: 23
Date Of Revision: 02/06/2008
Nationwide: Applicable in the continental U.95, Alaska, Puerto Rico, Hawaii and
Virgin Islands.

William W. Gross Division of Wage
birector Reterminations

**Pringe Benefits Required Follow the Occupational Listing**

OCCUPATION CODE - TITLE MINIMUM WAGE RATE
31010 - Airplane Pilot 23.62
31011 - First Officer (Co-Pilot) 21.51
31012 - Aerial Photographer 11.86

EXCEPT SCHEDULED AIRLINE TRANSPORTATION AND LARGE MULTI-ENGINE AIRCRAFT SUCH AS
THE 8-727, DC-8, AND THE DC~9.

 

 

ALL OCCUPATIONS LISTED ABOVE RECEIVE THE FOLLOWING BENEFITS:
HEALTH & WELFARE: $3.16 per hour or $126.40 per week or $547.73 per month

VACATION: 2 weeks paid vacation after ] year of service with a contractor or
sucressor; 3 weeks after 5 years, and 4 weeks after 15 years. Length of service
includes the whole span of continuous service with the present contractor or
successor, wherever employed, and with the predecessor contractors in the
performance of similar work at the same Federal facility. (Req. 29 CFR 4,173}

HOLIDAYS: A minimum of ten paid holidays per year, New Year's Day, Martin Luther
King Jr's Birthday, Washington's Birthday, Memorial Day, Independence Day, Labor
Day, Columbus Day, Veterans' Day, Thanksgiving Day, and Christmas Day. (A
contractor may substitute for any of the named holidays another day off with pay
in accordance with a plan communicated to the employees involved.) (See 25 CFR

4174)

VACATION (Hawaii): 2 weeks paid vacation after 1 year of service with a
contractor ox successor; 3 weeks after 10 years, and 4 weeks after 15 years.
Length of service includes the whole span of continuous service with the present
contractor or successox, wherever employed, and with the predecessor contractors
in the performance of similar work at the same Federal facility. (Reg. 29 CFR

4.173}

HEALTH & WELFARE (Hawaii): $1.37 per hour, or $54.80 per week, ox $237.47 per
month hour for all employees on whose behalf the contractor provides health care
benefits pursuant to the Hawaii prepaid Health Care Act. For those employees who
are not receiving health care benefits mandated by the Hawaii prepaid Health
Care Act, the new health and welfare benefit rate will be $3.16 per hour.

hitp://www.wdol.gov/wdol/scafiles/non-std/95-0222.sca 2/14/2008
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HAZARDOUS PAY DIFFERENTIAL: An 8 percent differential is applicable to employees
employed in a position that represents a high degree of hazard when working with
or in close proximity to ordinance, explosives, and incendiary materials. This
includes work such as screening, blending, dying, mixing, and pressing of
sensitive ordance, explosives, and pyrotechnic compositions such as lead azide,
black powder: and photoflash powder. All dry-house activities involving
propellants or explosives. Demilitarization, modification, renovation,
demolition, and maintenance operations on sensitive ordnance, explosives and
incendiary materials. All operations involving regrading and cleaning of
artillery ranges. “

A 4 percent differential is applicable to employees employed in a position that
represents a low degree of hazard when working with, or in close proximity to
ordance, {or employees possibly adjacent te) explosives and incendiary materials
which involves potential injury such as laceration of hands, face, or arms of
the employee engaged in the operation, irritation of the skin, minor burns and
the like; minimal damage to immediate or adjacent work area or equipment being
used. All operations involving, unloading, storage, and hauling of ordance,
explosive, and incendiary ordnance material other than small arms ammunition.
These differentials are only applicabie to work that has been specifically
designated by the agency for ordance, explosives, and incendiary material.
differential pay.

** UNIFORM ALLOWANCE **

If employees are required to wear uniforms in the performance of this contract
(either by the terms of the Government contract, by the employer, by the state
or local law, etec.), the cost of furnishing such uniforms and.maintaining (by
laundering or dry cleaning) such uniforms is an expense that may not be borne by
: an employee where such cost reduces the hourly rate below that required by the
wage determination. The Department of Labor will accept payment in accordance
with the follewing standards as compliance:

The contractor or subcontractor is required to fuxnish all employees with an
adequate number of uniforms without cost or to reimburse employees for the
actual cost of the uniforms. In addition, where uniform cleaning and maintenance
is made the responsibility of the employee, all contractors and subcontractors
‘subject to this wage determination shall {in the absence of a bona fide
collective bargaining agreement providing for a different amount, or the
furnishing of contrary affirmative proof as to the actual cost), reimburse ail
employees for such cleaning and maintenance at a rate of $3.35 per week (or 8.67
cents per day}. However, in those instances where the uniforms furnished are
made of "wash and wear" materials, may be routinely washed and dried with other
personal-garments, and do not require any special treatment such as dry
cleaning, daily washing, or commercial laundering in order to meet the
Cleanliness or appearance standards set by the terms of the Government contract,
by the contractor, by law, or by the nature of the work, there is no requirement
that employees be reimbursed for uniform maintenance ccsts.

Bee

The duties of employees under job tities histed are those described in the
“Sarvice Contract Act Directory of Occupations", Fifth Edition, April 2006,
unless otherwise indicated. Copies of the Directory are availiable on the
Internet. A links to the Directory may be found on the WHD home page at

http: //www.dol.gov/esa/whd/ or through the Wage Determinations On-Line {WBOL)
Web site at http://wdol.gov/.

REQUEST FOR AUTHORIZATION OF ADDITIONAL CLASSIFICATION AND WAGE BATE (Standard
Form 1444 {S¥ 1444) }

http:/Avww.wdol.gov/wdol/scafiles/non-std/95-0222.sca 2/14/2008
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Conformance Process:

The contracting officer shall require that any class of service employee which
is not listed herein and which is to be employed under the contract (i.e., the
work to be performed is not performed by any classification listed in the wage
determination), be classified by the contractor so as to provide a reasonable
relationship (i.e., appropriate Level of skill comparison) between such unlisted
classifications and the classifications listed in the wage determination. Such
conformed classes of employees shall be paid the monetary wages and furnished
the fringe benefits as are determined. Such conforming process shall be
initiated by the contractor prior to the performance of contract work by such
unlisted class({es) of employees. The conformed classification, wage rate, and/or
fringe benefits shall be retroactive to the commencement date of the contract.
{See Section 4.6 {C) {vi} } When multiple wage determinations are inciuded in a
contract, a separate SF 1444 should be prepared for each wage determination to
which a class({es} is to be conformed.

The process for preparing a conformance request is as follows:

1} When preparing the bid, the contractor identifies the need for a conformed
eccupation{s) and computes a proposed rate(s}.

2) After contract award, the contractor prepares a written report listing in
order proposed classification title(s), a Faderal grade equivalency (FGE) for
each proposed classification(s), job description(s), and rationale for proposed
wage rate(s), including information regarding the agreement or disagreement of
the authorized representative of the employees involved, or where there fis no
authorized representative, the employees themselves. This report should be
submitted to the contracting officer no later than™30 days after such unlisted
class(es) of employees performs any contract work.

3) The contracting officer reviews the proposed action and promptly submits a
report of the action, together with the agency's recommendations and pertinent
information including the position of the contractor and the employees, to the
Wage and Hour Division, Employment Standards Administration, U.8, Department. of
Labor, for review. (See section 4.6(b) (2) of Regulations 29 CFR Part 4).

4} Within.30 days of receipt, the Wage and Hour Division approves, modifies, or
disapproves the action via transmittal to the agency contracting officer, or
notifies the contracting officer that additional time will be required to

process the request.

5} The contracting officer transmits the Wage and Hour decision to the
contractor.

6) The contractor informs the affected employees.

tnformation required by the Regulations must be submitted on SF 1444 or bond
paper. ; .

When preparing a conformance request, the "Service Contract Act Directory of
Occupations" (the Directory} should be used to compare job definitions to insure
that duties requested aré not performed by a classification already listed in
the wage determination, Remember, it is not the job title, but the required
tasks that determine whether a class is included in an established wage
determination. Conformances may net be used te artificially split, combina, or
subdivide classifications listed in the wage determination. '

+* OCCUPATIONS NOT INCLUDED IN THE SCA DIRECTORY OF OCCUPATIONS **

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Aerial Photographer

The aerial photographer must be skilled in reading flight maps, capable of
assisting the pilot te adhere to flight lines, be able to level and operate a
cartographic camera and its auxiliary equipment mounted in the aircraft so that
the photographs that are taken will have the required forward lap and side Lap
for use in photogrammetric mapping equipment, and possess a working knowledge of
aerial films and camera filters to insure proper exposure cf the films.

First Officer (Co-Pilot) .

Is second in command of commercial airplane and its crew while transporting
passengers, mail, or other cargo on scheduled or nonscheduled flights. Assists
or relieves an airline captain in operating the controls of an airplane;
monitoring flight and engine instruments; and maintaining air-to-ground
communications.

http:/Awww.wdol.gov/wdol/scafiles/non-std/95-0222.sca 2/14/2008
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ao03 Janitorial Services, Forest Campground, Mar 4-Mar 31, 2007 1.06] Month | $ 400.00] $ 400.00
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Any other information as required by contract

For questions contact: Name, Title, Address, Phone, Emetl

 

 

Page 1 of 3
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Page 2 of 3
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FAR 32.905(b)(1)
A proper invoice must include the following items (except for interim payments on cost

reimbursement contracts far services):

1. Narne and address of the contractor.

Invoice date and invoice number. {Contractors should date invoices as close as possible to

the date of mailing or transmission.)

3. Contract number or other authorization for supplies delivered or services performed
{including order number and contract line ttem number).

4, Description, quantity, unit of measure, unit price, and extended orice of supplies delivered or
services performed.

5, Shipping and payment terms (e.g., shipment number and date of shipment, discount for
prompt payment terms). Bill of lading number and weight of shipment will be shown for
shipments on Government bills of lading. ‘

6. Name and address of contractor official to wham payment is to be sent (must be the same as
that in the contract or in a proper notice of assignment).

7. Name {where practicable), title, phone number, and mailing address of person to notify in the
event of a defective Invoice.

8. Taxpayer Identification Number (TIN), The contractor must include its TIN on the invoice only
if required by agency procedures. (See FAR 4.9 TIN requirements.)

9. Electronic funds transfer (EFT) banking information. ,

a. The contractor must include EFT banking information on the inveice only if required
by agency procedures. 7 ™

b, If EFT banking information is not required to be on the invoice, in order for the invoice
to be a proper invoice, the contractor must have submitted correct EFT banking
information in accordance with the applicable solicitation provision {¢.g., 52.232-38,
Submission of Electronic Funds Transfer Information with Offer}, contract clause
{e.g., 52.232-33, Payment by Electronic Funds Transfer-Central Contractor
Registration, or 52.232-34, Payment by Electronic Funds Transfer-Other Than
Central Contractor Registration), or applicable agency procedures.

¢. EFT banking information is not required if the Government waived the requirement to
pay by EFT.

10. Any other information or documentation required by the contract (¢.g., evidence of shipment}.

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EXHIBIT 3
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 91 of 97

 

gait United States Forest Northeastern 11 Campus Blvd., Suite 200
©) Department of Service Research Station Newtown Square, PA 19073-3200
Agriculture :
File Code: 6310 Date: March 28, 2008
Route To: * :

Subject: Designation of Contracting Officer’s Technical Representative

To: Rodney Whiteman

Enclosed is your designation as Contracting Officer’s Technical Representative for Contract
Number AG-3604-C-08-0003. Also enclosed is the first Task Order/Delivery Order issued
(AG-3604-D-08-0008) for the period March, 2008 through March, 2009.

You may act in my behalf with the exception of the actions designated on the attached Form
6300-6.

A copy of Forest Service Handbook 6309.11, Contract Administration Handbook is attached.
Please familiarize yourself with the entire handbook, including the Safety portion. Please
thoroughly review all appropriate Safety items with contractor.

As a reminder, there are some COR courses online at www.fai.gov which may be helpful, If you
complete a COR course, including online COR courses, please send Cindy Johnson, Group
Leader of Acquisition your certification so she can keep in your COR file.

plier Gre

PATRICIA PIERCE
Contracting Officer

Enclosures

Ce: Sterling Airways, Inc.
Melissa Emerson, Morgantown, WV
file

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FS-6300-6 (10/90)

 

 

 

 

USDA — Forest Service CONTRACT NQ, FILE CODE
AG-3604-0-08-0002 6320
DESIGNATION OF AG-3604-D-08-0008
CONTRACTING OFFICER'S REPRESENTATIVE (COR | UNIT
(REF. FSM 6309.11 AND FSH 6309.32) Morgantown, WV
TO: PROJECT

Aerial Surveying

Rod Whiteman CONTRACTOR
Sterling Airways, inc.

 

 

This is your designation as Contracting Officer's Representative to administer the above contract. Your major
dutites and responsibilities are contained In the Handbook of Contract Administration. You are delegated full
authority under the contract EXCEPT for the following actions which are reserved for the Contracting Officer:

Issue a Notice to Proceed to the Contractor.

Approve Change Orders and Amendments.

Take action to terminate the contract for default or Government convenience.
Make contract adjustments under the Differing Site Conditions clause.
Grant extensions of contract time.

Approve Assignment of Claims.

Make final decisions under the Disputes clause,

Make final acceptance under the contract.

Make final decisions under the Suspension of Work clause.

Make equitable adjustments.

Authorize change in amount of Payment Retention.

Approve subcontractors,

Approve payments.

Approve use and possession prior to completion.

Enforce the warranty provisions.

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CONTRACTING OFFICER'S NAME (Print or Typa) SIGNATURE DATE
PATRICIA PIERCE ( Aptana 3/28/2007

GG: CONTRACTOR, FOREST, TECHNICAL AND DIVISION, CONTRACT FILES.

 

 

 
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EXHIBIT 4
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Gm United States Forest NE/NA 11. Campus Blvd., Ste 200
() Department of Serviee Newtown Square, PA 19073
Agriculture .

 

File Code: 6320
Date: March 28, 2008
Sterling Airways, Inc.
ATTN: Mr. James Caneen, President
1100 Airport Road
Hornell, NY 14843

Dear Mr. Caneen:

Your proposal dated March 17, 2008, along with amendment 01 in response to Solicitation
Number AG-3604-S-08-0003, is accepted and has been made part of this contract. A copy of the
contract is attached. The contract number is AG-3604-C-08-0002. As we discussed, this is an
indefinite Delivery Indefinite Quantity (IDIQ) contract and Delivery Orders or Task Orders will
be issued,

Also attached is Delivery Order/Task Order Number AG-3604-D-08-0008 for Base Year, March,
2008 through March, 2009. Please annotate AG-3604-D-08-0008 on all invoices, Work can
start immediately,

Mr. Rodney (Rod) Whiteman has been designated as the Contracting Officer's Technical
Representative (COTR) for this project. A copy of his designation letter is enclosed. Please
contact him at (304)-285-1555 with any questions you may have concerning the technical
aspects of this contract.

If you have any questions, please cail me at (610)557-4248.

kh Arve

PATRICIA PIERCE
Contracting Officer

Enclosures
cc: Rod Whiteman, COR
Melissa Emerson, Morgantown, WV

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Caring for the Land and Serving People Printed on Recycled Paper ue

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Snider v. Sterling Airways, Inc., et al.
Notice of Removal
Exhibit “B” — Certification
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

ELIZABETH C. SNIDER, individually and
as Executrix of the Estate of DANIEL A.
SNIDER, and LEE W. SNIDER, a minor, by
his mother, ELIZABETH C. SNIDER,

Plaintiff,
Vv.
STERLING AIRWAYS, INC.,
Defendant,
and

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CONTINENTAL MOTORS, INC.; TDY )
INDUSTRIES, INC.; ALLEGHENY ) Case No.
TECHNOLOGIES INCORPORATED; )
TELEDYNE TECHNOLOGIES )
INCORPORATED; and TECHNIFY )
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MOTORS (USA), INC.,
Defendants and Third Party Plaintiffs,
V.

THE UNITED STATES OF AMERICA,

LISE LEMELAND JESSUP, as Administratrix
of the Estate of PATRICK C. JESSUP,
PATRICIA PIERCE, and

MEGAN LEWIS-WHITEMAN, as
EXECUTRIX OF THE ESTATE OF
RODNEY L. WHITEMAN,

Third Party Defendants,
Case 2:13-cv-02949-JCJ Document 1 Filed 05/29/13 Page 97 of 97

CERTIFICATION OF SCOPE OF EMPLOYMENT

I, Peter F. Frost, Director, Torts Branch, Civil Division, United States
Department of Justice, acting pursuant to the provisions of 28 U.S.C. § 2679(d)(2),
and by virtue of the authority vested in me by 28 C.F.R. § 15.4, certify that I have
read the Complaint and Defendants’ Complaint Against Additional Third-Party
Defendants Patricia Pierce and Megan Lewis- Whiteman, as Executrix of the Estate of
Rodney L. Whiteman. On the basis of the information now available to me, I find that
Patricia Pierce and Rodney Whiteman were acting within the scope of their employment
with the United States Forest Service at the time of the conduct alleged in Defendants’
Complaint Against Additional Third-Party Defendants Patricia Pierce and Megan Lewis-
Whiteman, as Executrix of the Estate of Rodney L. Whiteman.

Dated: May 249 _, 2013

VOD we

Peter F, Frost, Director
Torts Branch, Civil Division
United States Department of Justice
